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                             UNITED STATES FEDERAL COURT
                            SOUTHERN DISTRICT OF NEW YORK


RODNEY JONES,

               Plaintiff,                        Case Number: 24-1457

V.                                               Complaint
                                                 Civil Action
SEAN COMBS,                                     Jury Demand
JUSTIN DIOR COMBS,
ETHIOPIA HABTEMARIAM,
LUCIAN CHARLES GRAINGE,
KRISTINA KHORRAM,
CHALICE RECORDING STUDIOS,
LOVE RECORDS,
MOTOWN RECORDS,
UNIVERSAL MUSIC GROUP,
COMBS GLOBAL ENTERPRISES,
JOHN and JANE DOES 1-10 and
ABC CORPORATIONS. 1-10

               Defendants.



                             TRIGGER WARNING:
         TIDS DOCUMENT CONTAINS HIGHLY GRAPHIC INFORMATION OF A
          SEXUAL NATURE,INCLUDING SEXUAL ASSAULT. ADDITIONALLY,
        THERE ARE GRAPHIC IMAGES OF THE AFTERMATH OF A SHOOTING,
       REDACTED IMAGES OF SEXUAL INTERCOURSE,REDACTED IMAGES OF
            MINORS,SEX WORKERS,AND PROSTITUTES,DETAILS OF SEX
       TRAFFICKING, AND THE ILLEGAL DISTRIBUTION OF GUNS, AND DRUGS



       Plaintiff Rodney "Lil Rod" Jones ("Mr. Jones") hereby alleges, as and for his Complaint
against Defendant Sean Combs ("Mr. Combs"), Defendant Justin Dior Combs ("J. Combs"),
Defendant Lucian Charles Grainge ("Mr. Grainge"), Defendant Ethiopia Habtemariam ("Ms.
Habtemariam"), Defendant Kristina Khonam ("Ms. Kho1rnm"), Defendant Chalice Recording
Studios ("CRS"), Defendant Love Records ("LR"), Defendant Motown Records ("MR"),
Defendant Universal Music Group ("UMG"), Defendant Combs Global Enterprises ("CGE"),
John and Jane Does 1-10, ABC Co1porations 1-10, as follows:
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                            JURISDICTION AND VENUE
1. This Court has personal jurisdiction over the Defendants under and consistent with the
   Constitutional requirements of Due Process in that the Defendants, acting directly or through
   his agents or apparent agents, committed one or more of the following:
             a. The transaction of any business within the state;
             b. The making of any contract within the state;
             c. The commission of a tortious act within this district and
             d. The ownership, use, or possession of any real estate in this state.
2. From September 2022 to the date of this filing, Defendants have consistently and purposefully
   availed themselves of the privilege of conducting activities within New York, thus invoking
   the benefits and protections of New York law. In return for these benefits and protections,
   Defendants must submit to the burdens of litigation in New York.
3. This litigation arises from or relates to the tortious activities defendants visited upon
   defendants in the states of New York, California, Florida, and the United States Virgin Island.
   This tortious conduct violated United States Federal Rico Laws.
4. Requiring Defendants to litigate these claims in this District does not offend traditional
   notions of fair play and substantial justice. Plaintiffs’ claims arise from some conduct
   occurring by Defendants in New York.


                                          PARTIES
5. Plaintiff Rodney Jones is an American artist and music producer. Mr. Jones resides in the
   states of New York, and California.
6. Defendant Sean Combs is a rapper and record executive popularly known by his stage names
   Puff Daddy, Puffy, P. Diddy, Diddy, Brother Love or Love. Mr. Combs came to fame in the
   early 1990s with his record label Bad Boy Records. He rose to prominence in the music and
   entertainment industry over the decades and is regularly referred to as a hip-hop mogul. Mr.
   Combs resides at 200 South Mapleton Dr., Beverly Hills, California 90024.




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                                 Defendant Sean Combs
7. Defendant Justin Dior Combs is the son of Mr. Combs and Misa Hylton. J. Combs was born
   on December 30, 1993. J. Combs is a producer and actor. He has appeared on TV series like
   Catfish: The TV Show, Wild' N Out and Hip-Hop Squares. Defendant Justin Dior Combs
   resides at 1550 N El Centro Ave, Los Angeles, CA 90028.




                             Defendant Justin Dior Combs
8. Defendant Lucian Charles Grainge is the CEO of Defendant Universal Music Group.
   Defendant Lucian Charles Grainge resides at 53551 Ross Ave Unit 34A, La Quinta, CA
   92253; and 668 Chautauqua Blvd, Pacific Palisades, CA 90272.




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                                 Lucian Charles Grainge
9. Defendant Ethiopia Habtemariam is the Former CEO of Defendant Motown Records the
   parent company of Defendant Love Records. Defendant Habtemariam resides at 13701
   Riverside Dr Apt 8Flr, Sherman Oaks, CA 91423-2430.




                                  Ethiopia Habtemariam
10. Defendant Kristina Khorram is the Chief of Staff to Sean “Diddy” Combs, Combs Global
   Enterprises. She resides at 10445 Wilshire Blvd Apt 501, Los Angeles, CA 90024.




                Kristina Khorram, Chief of Staff to Sean "Diddy" Combs
11. Defendant Chalice Recording Studios is a popular recording studio located at 845 Highland
   Ave, Los Angeles, CA 90038, United States.




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12. Defendant Motown Records is a record label with a principal place of business located at 1750
   Vine St, Los Angeles, CA. Ethiopia Habtemariam was the chairman and CEO of Universal
   Music Group’s Motown Records.




13. Defendant Universal Music Group is a record label with a principal place of business located
   at 2220 Colorado Avenue in Santa Monica, California. Lucian Grainge is the Chairman &
   CEO, Universal Music Group.




14. Defendant Love Records is a record label with a principal place of business located at 6255
   Sunset Boulevard Suite 713. Los Angeles, CA, United States 90028. Defendant Love Records
   was founded by Mr. Combs and Defendant Motown Records.




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18. Mr. Jones is considered a musical prodigy. His talents have led him to produce and create a
   commercial marketplace for music that has been recorded by some of the most prestigious
   and highly acclaimed artists in music history.
19. Throughout the duration of his career, Mr. Jones has worked the south side of Chicago Music
   scene, playing with the following legendary greats: Georgia Mass Choir, Donald Lawrence,
   The Clark Sisters and The Smokie Norful.
20. On or about, August 2022 Mr. Jones received a call from Mr. Combs requesting that he
   produce several songs on a rhythm and blues album titled, “The Love Album: Off the Grid,”
   (“Love Album”).
21. Mr. Jones agreed, and his life has been detrimentally impacted ever since.
22. During the relevant period, Defendants John and Jane Does 1-10 are currently unknown
   individuals and/or employees who aided and/or abetted in the commission of conduct
   complained of herein and/or who either acted within the scope of their employment,
   Defendants ratified, embraced, and added to this conduct. As parties engage in discovery,
   Plaintiff retains the right to amend the Complaint to add these individual employees by name.
23. During the relevant period, Defendants ABC Corps. 1-10 are currently unknown entities who
   employed Plaintiff or aided and/or abetted in the commission of conduct complained of
   herein. As the parties engage in discovery, Plaintiff retains the right to amend the Complaint
   to add these entities or individuals by name.


                                  SUMMARY OF EVENTS
24. From September 2022 to November 2023, Mr. Jones produced nine songs on Mr. Combs'
   Love album.
25. Mr. Jones lived with Mr. Combs for months at a time, spending holidays, birthdays, and
   missing major family events.
26. Mr. Jones resided at Mr. Combs residence located in Los Angeles, California, New York City,
   and Miami, Florida. Mr. Jones also spent several weeks on a yacht rented by Mr. Combs in
   the US Virgin Islands.
27. Throughout his time with Mr. Combs, Mr. Jones witnessed, experienced, and endured many
   things that went far beyond his role as a Producer on the Love album.




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    28. The claims raised in this complaint have been corroborated through witness statements,
       video/audio recordings, and images that Mr. Jones has in his possession.
    29. Mr. Combs required Mr. Jones to record him constantly. On several occasions, Mr. Combs
       took Mr. Jones cellphone and began recording himself. As a result, Mr. Jones has secured
       HUNDREDS of hours of footage and audio recordings of Mr. Combs, his staff, and his guests
       engaging in serious illegal activity.
    30. Mr. Jones has secured irrefutable evidence of:
           a. The acquisition, use, and distribution of ecstasy, cocaine, GHB, ketamine, marijuana,
               and mushrooms,
           b. The displaying and distribution of unregistered illegal firearms,
           c. Mr. Combs providing laced alcoholic beverages to minors and sex workers at his
               homes in California, New York, the U. S. Virgin Islands1, and Florida,
           d. Mr. Combs Chief of Staff, Kristina Khorram (“KK”) instructing her staff to retrieve
               drugs so she can provide it to Mr. Combs for his consumption,
           e. Christian Combs drugging and sexually assaulting a woman2,
           f. Mr. Combs detailing how he planned to leverage his relationship with Bishop T.D.
               Jakes to soften the impact on his public image of Cassie Ventura’s lawsuit,
           g. Yung Miami’s cousin, and or assistant sexually assaulting Mr. Jones,
           h. Actor Cuba Gooding Jr. sexually harassing and assaulting Mr. Jones,
           i. Rapper3 (REDACTED) on Mr. Combs yacht consorting with underaged girls, sex
               workers, and
           j. R&B Singer4 (REDACTED) in Mr. Combs Los Angeles home consorting with
               underaged girls and sex workers.
///
///
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///
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1
  This writer spoke with several employees of the yacht rented by Mr. Combs in the U.S. Virgin Islands who personally
witnessed Defendant Khorram instruct her staff, Brendan Paul, Frankie Santella, and Moy Baun spike bottles of
champagne with ecstasy.
2
  A complaint is forthcoming.
3
  He is a Philadelphia Rapper who dated Nicki Minaj.
4
  He is a Grammy Award winning R&B singer who had trouble with law enforcement after assaulting a Bajan
Billionaire.


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                       CHALICE RECORDING STUDIOS SHOOTING
31. On or about September 12, 2022, Mr. Combs held a writers and producers camp at Chalice
   Recording Studio at 845 Highland Ave, Los Angeles, CA 90038.
32. Present at this camp were Mr. Combs, his son Justin Combs, and Justin's friend named G.
33. Mr. G is a 30-year-old tall African American male.
34. In addition to these individuals, other musicians were present at the camp. This writer has
   spoken to several musicians who attended the camp.
35. One evening during this camp, Mr. Combs, J. Combs, and G were in a heated conversation.
36. That conversation was moved out of the studio and into a restroom adjacent to where Mr.
   Jones was sitting.
37. Mr. Jones was approximately 2 feet away from the bathroom when gunshots rang out. Mr.
   Jones recalls hearing multiple gunshots.
38. Mr. Jones immediately went into a state of shock and feared that he would be shot next. Mr.
   Jones genuinely believed that he would be shot through the door due to how close he was.
39. After the shooting ended, a crowd gathered around the restroom.
40. When the door finally opened, Mr. Combs and J. Combs exited.
41. G was lying on the restroom floor in a fetal position, holding his stomach and bleeding out of
   his leg/hip area.
42. Everyone stood around looking upon G. Frustrated by the lack of aid to G, Mr. Jones dropped
   everything, ran to G, and immediately began placing pressure on G’s gunshot wound to his
   stomach.
43. As he was applying pressure on his stomach, Mr. Jones realized that G was gushing blood
   from another area near his leg/hip.
44. He decided to lift G and placed him to sit on the toilet. Mr. Jones asked the crowd to call the
   ambulance.
45. Mr. Jones lifted G and brought him to the ambulance at the studio's front. At this time, Mr.
   Combs and Justin disappeared to another part of the studio.
46. Mr. Combs gave strict instructions to inform the police that he had nothing to do with the
   shooting. He also forced Mr. Jones to lie to the police by telling them that G was shot standing
   outside the studio by a drive-by assailant.




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47. Mr. Jones has several corroborating witnesses who spoke with this writer anonymously due
   to fear of retaliation from Mr. Combs. They have agreed to speak publicly when subpoenaed.



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48. Mr. Jones has the clothing he wore that day and believes it may still have the stains and DNA
   of G’s blood.
49. The following are screenshots of the aftermath of the restroom where G was shot by either
   Mr. Combs or J. Combs:




                               Aftermath of the Shooting of G
50. Clearly, G was NOT shot outside of the studio as Mr. Combs instructed his team to report to
   law enforcement.
51. Mr. Combs and Defendant’s LR, MR, UMG, and CRS provided private security for the
   writers’ camp at Defendant CRS.
52. The Security was porous and lackluster at best.
53. The fact that either Mr. Combs and J. Combs were allowed to enter CRS with guns, and those
   guns were not confiscated by security is a clear breach of duty by Mr. Combs, Defendant’s
   LR, MR, and UMG to protect Mr. Jones and the other attendees of this writers’ camp.
54. As a result of this shooting, Mr. Jones is severely traumatized. Mr. Jones now suffers from
   PTSD, severe anxiety, depression, and insomnia.



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55. The following is an image of Mr. Combs a couple of hours before G is shot in the restroom of
    Defendant CRS:




  This photo of Mr. Combs was taken at Chalice Recording Studios outside of Studio G
                              hours before G was shot.

DEFENDANT CHALICE RECORDING STUDIOS, AND DEFENDANTS SEAN COMBS
            AND JUSTIN COMBS REPRESENTATIVE SHAWN HOLLEY
   PROVIDE CONFLICTING AND INTELLECTUALLY DISHONEST ACCOUNTS
                           CONCERNING THE SHOOTING
56. On or about, February 28, 2024, Defendant CRS sent an Instagram message which alleges
    that G was shot a “half a block away from Chalice.”




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    66. Mr. Combs and J. Combs were both located in Studio G across the parking lot from the
        building where G was shot (near studio A). Mr. Combs and J. Combs hid out in Recording
        Studio G while the police “investigated,” and were the first to depart after the officers left7.




                 Mr. Combs Published the Love Records Chalice Recording Studios
                             Assignment List. Mr. Combs Stayed in Studio G
                             Throughout The Duration of the Writers Camp


    67. After being shot in the stomach and hip/leg, G was physically incapable of walking therefore
        the notion that he was shot several blocks away (Shawn Holley), half a block away (CRS), or
        as he stepped outside of the studio is implausible.
    68. If G could do as much walking as Shawn Holley and CRS claims, then Mr. Jones would not
        have been required to physically pick him up off the restroom floor and walk him through the
        maze that is CRS for him to receive care from the ambulance.


7
    This FACT will be made crystal clear in discovery.


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    69. As of the date of this filing, neither the Los Angeles Police Department, nor the Los Angeles
       Fire Department have released any official reports surrounding this shooting. There has been
       no body camera footage, and no 911 call recording. What is even more disturbing, is that
       there has been no citing of G.
           a. The LAPD has only released a vaguely written “News Release” dated September 12,
               2022.
    70. The unfortunate shooting of G, the unexplained disappearance of G, the lack of disclosures
       by the LAPD and LAFD, and the incoherent nature of Shawn Holley and Chalice Recording
       Studios account of the shooting raises more questions than answers, points to foul play, and a
       massive coverup.


     THE DEAFENING SILENCE FROM THE ATTENDEES OF THE CRS SHOOTING
     STEMS FROM UNDERSTANDABLE FEAR THAT THE ATTENDEES WOULD BE
                            SUED BY MR. COMBS FOR VIOLATING A
                                 NON-DISCLOSURE AGREEMENT
    71. A few days prior to the September 12, 2022, shooting inside of Chalice Recording Studio, Mr.
       Combs required all attendees of the CRS shooting to sign a Non-disclosure Agreement.
    72. Mr. Jones did not sign the agreement.
    73. A copy of the non-disclosure agreement8 that a witness who has asked to remain anonymous
       provided this writer is attached. (Attachment A).


      MR. JONES WAS SEXUALLY HARASSED, AND ASSAULTED BY MR. COMBS
    74. Throughout his time living with Mr. Combs, Mr. Jones was the victim of constant unsolicited
       and unauthorized groping and touching of his anus by Mr. Combs.
    75. These events took place in LA, NY, FL, and the United States Virgin Islands.
    76. In addition to the unsolicited and unauthorized touching, Mr. Jones was forced by Mr. Combs
       to work in Mr. Combs' bathroom as Mr. Combs walked around naked and showered in a clear
       glass enclosure.
    77. As a heterosexual Christian man, Mr. Jones was uncomfortable with Mr. Combs’ advances
       and expressed his discomfort to Mr. Combs Chief of Staff, Kristina Khorram (“KK”).


8
  Unfortunately for the attendees of the writers camp, they are unaware that NDA’s are non-binding when it comes to
reporting criminal activity such as a shooting, sex trafficking, and the distribution and use of illegal drugs and guns.


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    78. KK responded to Mr. Jones complaint with, “you know, Sean will be Sean.”
    79. KK also attempted to downplay Mr. Combs groping of Mr. Jones anus and genitals, as friendly
       horseplay, stating that those acts were Mr. Combs way of “showing that he likes you [Mr.
       Jones]”.
    80. Despite these assurances, on several occasions when Mr. Combs began to undress and walk
       around his house naked, KK would say, “okay, I am leaving now,” and she would disappear.
    81. KK’s hypocrisy is breathtaking at best or enabling at worst.
    82. Mr. Jones believes that KK aided and abetted Mr. Combs’ sexual assault of him and was
       working with Mr. Combs to groom him into accepting a homosexual relationship.
    83. Through these sexually deviant acts, one would say Mr. Combs has a pattern and practice of
       engaging in such nefarious activity. This ongoing conduct shows that Mr. Combs cannot be
       rehabilitated.


MR. COMBS ATTEMPTED TO GROOM MR. JONES INTO ENGAGING IN GAY SEX
    84. Mr. Combs was aware that Mr. Jones looked up to, and idolized music Producer Steven Aaron
       Jordan (“Stevie J”).
    85. Stevie J is an American DJ, record producer, and television personality.
    86. Stevie J was part of the Bad Boy Records production team the Hitmen.
    87. In 1997, Stevie J won a Grammy Award for his work on Puff Daddy's debut album.
    88. Throughout the late 1990s, Stevie J produced for several artists including Mariah Carey, Tevin
       Campbell, The Notorious B.I.G., 112, Jodeci, Faith Evans, Jay-Z, and Eve.
    89. Stevie J was one of the producers on the Love Album.
    90. Mr. Combs used access to Stevie J, and his knowledge of Mr. Jones admiration of Stevie J to
       groom and entice Mr. Jones to engage in homosexuality.
    91. Mr. Combs went so far as to share a video of who he claims was Stevie J9 anally penetrating
       a Caucasian male without a condom. This was done to ease Mr. Jones’ anxiety concerning
       homosexuality. According to Mr. Combs, “this is a normal practice in the music industry,
       look even Stevie J10 is doing it.”


9
 This writer is in possession of the video and will provide a copy to the court.
10
  Stevie J denies that he is the person in the video. A male porn star claimed that he was the black male in the video.
Mr. Jones stands by his position that Mr. Combs provided him with the video and identified the individual in the video
as Stevie J.


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 92. Mr. Combs informed Mr. Jones that he had engaged in sexual intercourse with rapper11
     (REDACTED), R&B singer12 (REDACTED), and Stevie J.
 93. Mr. Combs promised to make sure that Mr. Jones wins producer of the year at the Grammys
     if he engaged in homosexuality.


         THANKSGIVING 2022, MR. JONES IS SEXUALLY ASSAULTED BY
                               YUNG MIAMI’S COUSIN
 94. On Thanksgiving Day 2022, Mr. Jones was in Mr. Combs house located in Miami, Florida.
     Yung Miami and her female cousins were also present.
 95. Mr. Combs was intoxicated and offered cocaine to Mr. Jones. Mr. Jones rejected him and
     proceeded to walk to the restroom.
 96. While using the restroom Yung Miami’s cousin burst into the bathroom and began groping
     Mr. Jones. Mr. Jones believes that Mr. Combs sent her in there to sexually assault Mr. Jones.
 97. As she entered the bathroom she dropped to her knees and began performing oral sex on Mr.
     Jones exposed penis. Mr. Jones pushed her away and exited the bathroom.
 98. Yung Miami’s cousin did not accept Mr. Jones rejection, as she proceeded to follow Mr. Jones
     out of the bathroom.
 99. She started undressing and attempted to straddle him and have sex with him in the presence
     of Mr. Combs and his staff.
 100. Once again Mr. Jones pushed her off. The following are images from a video13 of Yung
     Miami, her cousin, Mr. Jones, and Mr. Combs:




Mr. Jones and Mr. Combs on Thanksgiving Day right before Mr. Combs invites Mr. Jones
              into the restroom and attempted to force him to take cocaine.



11
   He is a Philadelphia Rapper who dated Nicki Minaj.
12
   He performed at the Superbowl and had a successful Vegas residency.
13
   This writer is in possession of the video and will provide a copy to the court.


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104. On or about, February 2, 2023, incident, Mr. Jones believes Mr. Combs drugged him. Mr.
   Jones recalls waking up naked, dizzy, and confused. He was in bed with two sex workers and
   Mr. Combs. He also recalls aimlessly wandering around the house with no clothes on.




            Sex Workers In Mr. Jones Bed The Morning After Being Drugged
105. On another occasion in Miami, Florida, on Thanksgiving night of 2022, Mr. Combs asked
   Mr. Jones and DeForrest Taylor to enter the studio bathroom.
106. He asked them for a hundred-dollar bill because he wanted them to do cocaine with him.
107. Mr. Jones was scared, but luckily, he didn’t have a hundred-dollar bill, so Mr. Combs
   waited a little later to do coke with Yung Miami.
108. Later that evening, he required Mr. Jones to solicit sex workers from Booby Trap on the
   River located at 3615 NW S River Dr, Miami, FL 33142. Mr. Jones did so, and Mr. Combs
   forced him to engage in unsolicited sex acts with these workers.




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  MR. COMBS AND J. COMBS SOLICITS, DRUGS AND ENGAGES IN ILLICIT SEX
                     ACTS WITH MINORS AND SEX WORKERS
 118. On or about July 2, 2023, in California, Mr. Combs had a "listening party" at his home.
 119. Present at this party was a R&B artist14 (REDACTED), J. Combs, sex workers, and some
     underaged girls.
 120. The event began at 7 pm. Mr. Combs requested female sex workers and required Mr. Jones
     to solicit them. An hour later, several sex workers appeared.
 121. In addition to sex workers, there were at least five women in the crowd that were under the
     age of sixteen.
 122. Mr. Combs forced all the women to drink laced DeLeon liquor. Upon information and
     belief, Mr. Combs laced the liquor with ecstasy.
 123. Mr. Combs did not check the identification of any of these underage girls.
 124. The presence of these underage women made Mr. Jones very uncomfortable.
 125. He attempted to leave, and Mr. Combs forced him to stay.
 126. Mr. Combs went so far as to take Mr. Jones' car keys to prevent him from leaving.
 127. After being forced to drink laced DeLeon shots Mr. Jones began feeling lightheaded and
     recalls passing out and waking up at 4 am the following morning naked with a sex worker
     sleeping next to him.
 128. Screenshots of a video15 from that night is imbedded below:




14
   He is a Grammy Award winning R&B singer who had trouble with law enforcement after assaulting a Bajan
Billionaire.
15
   This writer is in possession of the video and will provide a copy to the court.


                                                                                                     23
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 131. During the introduction, Mr. Combs suggested that Cuba “get to know” Mr. Jones better.
        He then left them alone in a makeshift studio on the yacht.




             Mr. Combs and Cuba Gooding Jr. Moments Before Mr. Jones is Assaulted

 132. As evidenced by a video, of which screenshots are imbedded below, Cuba Gooding Jr.
        began touching, groping, and fondling Mr. Jones’ legs, his upper inner thighs near his groin,
        the small of his back near his buttocks and his shoulders.
 133. Mr. Jones was extremely uncomfortable, and proceeded to lean away from Mr. Gooding Jr.
 134. He rejected his advances and Mr. Gooding Jr. did not stop until Mr. Jones forcibly pushed
        him away. The following is a screenshot16 of the encounter with Cuba Gooding Jr.:




16
     This writer is in possession of the video and will provide a copy to the court.


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             Cuba Gooding Jr17. Forcibly Touching Mr. Jones on Mr. Combs yacht

                                            THE LOVE ALBUM
 135. Throughout his time with Mr. Combs, Mr. Jones was under an implied work-for-hire
     agreement.
 136. He was not compensated for his time living with Mr. Combs or for the songs he produced.
 137. Mr. Jones was recruited by Frankie Santella to work on the Love Album. Mr. Jones
     informed Mr. Santella that he required the following to work on the Love Album:
          a. $20,000.00 per song,
          b. 4 royalty points,
          c. Credit as producer and credited for each instrument Mr. Jones played, and
          d. Mr. Jones must retain his publishing rights.
 138. After meeting with Frankie Santella, they orally agreed to the terms detailed above. Mr.
     Jones met with Defendant Combs who further reiterated and guaranteed that the terms detailed
     above was accepted. As a result, Mr. Jones began working on the album.
 139. As evidence, he was listed as a producer for the following songs on the Love Albums final
     release:    Deliver Me, Stay PT 1, Reachin’, What’s Love, Stay Awhile, Moments, Need
     Somebody, Homecoming, and Tough Love.
 140. Mr. Combs and Defendants LR, MR, UMG all benefited from Mr. Jones’ work product.
 141. They failed to compensate Mr. Jones for his work.

17
   Mr. Gooding Jr. has a storied history of sexually assaulting and forcibly touching individuals against their well.
https://www.usatoday.com/story/entertainment/celebrities/2023/11/22/cuba-gooding-jr-lawsuits-sexual-assault-
battery/71682417007/


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 142. As a result, Mr. Combs, and Defendants LR, MR, UMG were all unjustly enriched at the
     expense of Mr. Jones.
 143. Mr. Jones attempted to work with Mr. Combs to secure his publishing and royalty rights
     for the work he completed on the Love album. Mr. Combs only offered Mr. Jones $29,000.00
     for 13 months, thousands of hours of work, and 9 songs that made it to the Love album.
     Ironically, Mr. Jones was willing to take $50,000.00, his publishing and royalties. Mr. Combs
     self-serving greed would not allow him to pay18 Mr. Jones an additional $21,000.
 144. Mr. Combs deceptive business practices became so bad that Mr. Jones was left with no
     choice other than to make a public plea on social media for Mr. Combs to pay him for his
     work.
 145. After publicly requesting that Mr. Combs do the right thing, and pay him fairly, Mr. Jones
     received an onslaught of threating messages from Stevie J and Love Records A&R DeForrest
     Taylor19.




                                DeForrest Taylor Threatening Mr. Jones


18
   This writer has retained other creatives, artists, and writers who have experienced this same treatment from Mr.
Combs and will file suit in the coming weeks.
19
   As the A&R of Love Records, DeForrest Taylor did not require Mr. Jones or any of the other creatives, musicians,
or artists to sign an NDA.


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             MR. COMBS USED HIS POWER, AND INFLUENCE TO
                   THREATEN AND INTIMIDATE MR. JONES
146. According to Mr. Jones, Mr. Combs is very forceful and demanding.
147. Mr. Combs does not take no for an answer and would often threaten to inflict bodily harm
   on Mr. Jones if Mr. Jones did not comply with his demands.
148. As detailed above, Mr. Combs threatened to eat Mr. Jones' face.
149. On another occasion, while standing in Mr. Combs' bedroom, Mr. Jones was forced to
   watch as Mr. Combs displayed his guns and bragged about getting away with shooting people.
150. Mr. Combs shared that he was responsible for the shooting in the nightclub in New York
   City with rapper Shyne.




151. He shared that artist, and Mr. Combs’ girlfriend at the time, Jennifer Lopez, aka, J-Lo
   carried the gun into the club for him and passed him the gun after he got into an altercation
   with another individual.




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152. The shooting in Chalice Recording Studios confirmed Mr. Combs' statements.
153. These statements reinforced Mr. Jones’s fear of Mr. Combs and strengthened Mr. Combs
   dominion and control of Mr. Jones.
154. Mr. Jones was terrified of Mr. Combs. He felt like he could not tell him no.
155. Mr. Combs consistently made it clear that he has immense power in the music industry and
   with law enforcement.
156. Mr. Combs made it clear that his head of security, Faheem Muhammad (“Mr. Muhammad”)
   had the power to make people and problems disappear.




                                                                                          29
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                                       Faheem Muhammad
 157. Mr. Combs instructs his staff to always contact Mr. Muhammad if they are ever pulled over
      by the police in Miami or California.
 158. Upon information and belief, Mr. Muhammad spoke with the LAPD after G was shot at
      CRS. The LAPD was in CRS and witnessed the blood in the restroom, and they went with
      the bogus claim that the shooting of G occurred outside of the studio. This was all thanks to
      Mr. Muhammad’s connections within law enforcement.
 159. Mr. Jones had no reason to disbelieve Mr. Combs as he had seen firsthand through the
      shooting of G and the subsequent silence of the LAPD and the media that Mr. Combs indeed
      had the power to harm him.
 160. The LAPD spent HOURS in CRS after the shooting of G, yet there were no arrests. Mr.
      Jones witnessed the LAPD in the restroom pictured above, yet no arrests were made at the
      scene.
 161. The morning after the shooting, Mr. Jones and several others arrived at CRS and G’s blood
      was still on the floor of the restroom, and Mr. Combs hired a cleaning crew to clean it up.
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     DEFENDANTS ETHIOPIA HABTEMARIAM, LUCIAN CHARLES GRAINGE,
     MOTOWN RECORDS, LOVE RECORDS, AND UNIVERSAL MUSIC GROUP
                      AIDED, ABETTED, AND PROFITED OFF OF
                            SEAN COMBS RICO ENTERPRISE
 162. Mr. Jones recalls seeing Defendant Grainge20 visiting Mr. Combs home in Miami, Florida,
     and Los Angeles, California.
 163. According to Mr. Jones, whenever Defendant Grainge visited Mr. Combs at his homes, it
     would be in the evening, and he and Mr. Combs would disappear for hours in Mr. Combs
     bedroom.
 164. Defendant Grainge sponsored and attended several Love Album listening parties at Mr.
     Combs’ home in Los Angeles, California. These parties were sponsored by Defendants MR,
     LR, and UMG. As evidence above, these parties had sex workers and underage girls present.
 165. During these parties, Defendant Grainge knew or should have known that Mr. Combs was
     drugging the attendees through laced bottles of DeLeon Tequila, and Ciroc Vodka.




 166. It is no secret that Mr. Combs had specific bottles of alcohol designated for females, and
     other bottles designated for his staff, his artists, and himself. This fact was detailed by former
     artists and bodyguards of Mr. Combs.
 167. As a sponsor of these events, Defendant Grainge had a duty and obligation to ensure that
     sex workers and underaged girls were not present, and that Mr. Combs was not spiking the
     alcohol with date rape drugs.




20
   TikTok is one of the most important short video platforms in the world. It has a significant impact on the spread of
global music. Today it is believed that artists are paying more and more attention to producing music suitable for
dissemination on TikTok. Due to failed contractual renewal negotiations between Universal and TikTok, a lot of music
had to be removed from TikTok. This comes from the alleged lack of protection TikTok takes to ensure UMG artists’
rights and creativity is preserved as well as fair compensation. On the contrary it has been alleged that the renewal
failed due to UMG’s own financial agenda and putting their interest first before the artist. This move has costs artists
affected huge opportunities to further their growth and development within their art as well as huge financial loss.
However, UMG will still continue to profit off these artist whether their music will be released back to TikTok or not.


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 168. On YouTube Channel, the Art of Dialogue, former bodyguard Gene Deal exposed Mr.
       Combs Pill Mixing method used to spike cranberry juice and orange juice. According to Mr.
       Deal, Mr. Combs would place ecstasy and other date rape drugs in the juices21.
 169. On YouTube, the Art of Dialogue, former artist Mark Curry exposed Mr. Combs spiking
       bottles of Moet champagne in the VIP section of night clubs. Mr. Combs would have a set of
       Moet champagne bottles for his artists, and a set for women22.
 170. This writer has spoken with several former employees of Mr. Combs who witnessed
       Defendant Khorram instruct her staff to lace Champagne, DeLeon, and Ciroc liquor bottles
       with ecstasy and other elicit drugs.
 171. Mr. Jones recalls seeing Defendant Habtemariam visiting Mr. Combs home in Miami,
       Florida, and Los Angeles, California.
 172. According to Mr. Jones, whenever Defendant Habtemariam visited Mr. Combs at his
       homes, it would be in the evening, and she and Mr. Combs would disappear for hours in Mr.
       Combs bedroom.
 173. According to Mr. Jones, Defendant Habtemariam visited Mr. Combs at Defendant CRS
       during Mr. Combs writing camp.
 174. Defendant Habtemariam sponsored and attended several Love Album listening parties at
       Mr. Combs’ home in Los Angeles, California. These parties were sponsored by Defendants
       MR, LR, and UMG. As evidence above, these parties had sex workers and underage girls
       present.
 175. During these parties, Defendant Habtemariam knew or should have known that Mr. Combs
       was drugging the attendees through laced bottles of DeLeon Tequila, and Ciroc Vodka.
 176. As a sponsor of these events, Defendant Habtemariam had a duty and obligation to ensure
       that sex workers and underaged girls were not present, and that Mr. Combs was not spiking
       the alcohol with date rape drugs.
///
///
///
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21
     https://youtu.be/MFIP8b2IDeg?si=VVM397WmKXlnbHU-
22
     https://youtu.be/pjvhfwUmMQw?si=6-5 W6evemGP AI0


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             DEFENDANT KRISTINA KHORRAM IS THE GHISLAINE MAXWELL
                        TO SEAN COMBS JEFFREY EPSTEIN




 177. According to Mr. Jones during the thirteen months he lived and traveled with Mr. Combs,
        he witnessed Mr. Combs display and distribute guns from his bedroom closet in Miami,
        Florida and Los Angeles, California to questionable individuals dressed in all black.
 178. According to Mr. Jones during the thirteen months he lived and traveled with Mr. Combs,
        he witnessed Defendant Khorram openly order her assistants to keep Mr. Combs “high” off
        gummies and pills23.
 179. Defendant Khorram required all employees from the butler, the chef to the housekeepers,
        to walk around with a pouch or fanny pack filled with cocaine, GHB, ecstasy, marijuana
        gummies (100 - 250 mg’s each), and Tuci (a pink drug that is a combination of ecstasy and
        cocaine).




                                                           TUCI
 180. It was important to Defendant Khorram to have Mr. Combs’ drug of choice immediately
        ready when he asks for it.
 181. Defendant Khorram ordered sex workers, and prostitutes for Mr. Combs.




23
     We have a recording of this and will provide it to the court.


                                                                                                      33
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 182. Defendant Khorram ordered and distributed ecstasy, cocaine, GHB, ketamine, marijuana,
     and mushrooms to Mr. Combs and his celebrity guests who were present on his rented yacht,
     and in his homes in LA, NYC, and Miami.
 183. On multiple occasions, Defendant Khorram forced Mr. Jones to carry Mr. Combs drug
     pouch against his will.
 184. As the Chief of Staff, Defendant Khorram was instrumental in organizing and executing
     the RICO Enterprise.         Defendant Khorram had the following individuals execute the
     following tasks for the RICO enterprise:
         a. Stevie J: Recruits sex workers and attends and participates in freak offs24.
         b. Justin Combs: Solicits Prostitutes, Underaged Girls, and Sex Workers. Would
            engage in Freak Offs.
         c. Brendan Paul: Works as Mr. Combs Mule. He acquires, and distributes, Mr. Combs
            Drugs, and Guns.




                                     Brendan Paul and Mr. Combs

         d. Frankie Santella25: Works alongside Brendan. While Brendan acquires, and
            distributes, Mr. Combs Drugs, and Guns. Frankie carries the money and pays for the
            Guns and Drugs.




24
   We have a video of Mr. Combs, Stevie J, and Plaintiff Jones at a strip club. Mr. Combs is recording the video,
while coaching and training Plaintiff Jones how to recruit the sex workers.
25
   Vice President of Music Management & Strategic Partnerships Vice President of Music Management & Strategic
Partnerships, Combs Global.


                                                                                                              34
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                                          Frankie Santella and Sean Combs

             e. Moy Baun: Hires sex workers, attends and participates in freak offs.




            Moy Baun, Thanksgiving 2022 When Mr. Combs Offered Mr. Jones Cocaine.

 185. Mr. Combs funded and used his affiliation with local gangs and gang leaders26 who would
        frequent his homes in LA, and Miami to secure the drugs and guns he obtained and distributed
        out of his homes in LA and Miami.



26
     Plaintiff has intentionally left the names, and images of these individuals out of the pleading out of fear of retaliation.


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186. Defendants executed their RICO Enterprise with threats of violence: threatening to eat
   Plaintiff’s face, displaying and distributing guns in Plaintiff’s presence, bragging about having
   law enforcement under control, bragging about murdering people, and bragging about bribing
   witnesses, and jurors in the criminal case concerning the 1999 NYC nightclub shooting with
   Shyne.
187. Defendants executed their RICO Enterprise with threats of isolation from the music and
   entertainment industry: parading powerful music industry executives such as Defendants
   Lucian Charles Grainge, Ethiopia Habtemariam at his parties filled with sex workers, minors,
   and illegal drugs, such as ecstasy, cocaine, GHB, ketamine, marijuana, and mushrooms.
188. Defendants executed their RICO Enterprise with threats of nonpayment for work
   completed, fake promises of cash payments ($250,000), producer of the year Grammy awards,
   and guaranteed access to future projects, and a $20 million dollar home on Star Island in
   Miami.

                    MR. COMBS IS ALLOWED TO WREAK HAVOC
189. While living and traveling with Mr. Combs, Mr. Jones discovered that Mr. Combs has
   hidden cameras in every room of his homes.
190. Mr. Jones believes that Mr. Combs has recordings of Defendants Lucian Charles Grainge,
   Ethiopia Habtemariam, as well as other celebrities, music label executives, politicians, and
   athletes.
191. Upon information and belief, these individuals were recorded without their knowledge and
   consent, and as is the case with the homosexual sex tape of Stevie J that Mr. Combs provided
   to Mr. Jones, Mr. Combs possesses compromising footage of every person that has attended
   his freak off parties, and his house parties.
192. Upon information and belief, due to this treasure trove of evidence he has in his possession,
   Mr. Combs believes that he is above the law and is untouchable.
193. Upon information and belief, Mr. Combs employs Jose Cruz as his IT director. This writer
   has spoken to several former employees of Mr. Combs, who confirmed that Jose Cruz is the
   gatekeeper to all of Mr. Coms recordings.




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                               FIRST CAUSE OF ACTION
              CONDUCT AND PARTICIPATE IN A RICO ENTERPRISE
              THROUGH A PATTERN OF RACKETEERING ACTIVITY
                  VIOLATION OF RACKETEER INFLUENCED AND
     CORRUPT ORGANIZATION ACT, CODIFIED AT 18 U.S.C. § 1962(A), (C)-(D)
(against, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Sean Combs, Justin
     Combs, Kristina Khorram, Combs Global, Motown Records, Love Records, And
                                  Universal Music Group)
 199. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
    forth fully herein.
200. As respondent superior, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
    Combs Global, Motown Records, Love Records, and Universal Music Group (“the
    respondent superior collective”) are 100% liable for the actions of Sean Combs, Justin Combs,
    Kristina Khorram as they were acting in their capacities as the respondent superior collectives’
    employees when they committed the acts detailed below. The respondent superior collective
    failed to adequately monitor, warn, or supervise the actions of Sean Combs, Justin Combs and
    Kristina Khorram.
201. Defendants are individuals and/or entities within the meaning of “person” as defined in 18
    U.S.C. § 1961(3) because each is capable of holding, and does hold, “a legal or beneficial
    interest in property.” The association is composed of Lucian Charles Grainge, Ethiopia
    Habtemariam, Sean Combs, Justin Combs, Kristina Khorram, Combs Global, Motown
    Records, Love Records, Universal Music Group, JOHN, and JANE DOES 1-10, and ABC
    CORPORATIONS 1-10.
202. Section 1962(a) makes it:
     unlawful for any person who has received any income derived, directly or indirectly, from
     a pattern of racketeering activity or through a collection of an unlawful debt in which such
     person has participated as a principal within the meaning of Section 2, Title18, United
     States Code, to use or invest, directly or indirectly, any part of such income, or the proceeds
     of such income, in the acquisition of any interest in, or the establishment or operation of,
     any enterprise which is engaged in, or the activities of which affect interstate or foreign
     commerce. 18 U.S.C. § 1962(a).
203. Section 1962(c) makes it:
       unlawful for any person employed by or associated with any enterprise engaged in, or the
       activities of which affect, interstate or foreign commerce, to conduct or participate, directly
       or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering
       activity. 18 U.S.C. §1962(c).




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204. Section 1962(d) makes it unlawful for “any person to conspire to violate” Section 1962(a)
   and (c), among other provisions. 18 U.S.C. § 1962(d).
205. Defendants are associated with each other as an enterprise within the meaning of
   “enterprise” as defined in 18 U.S.C. § 1961(4).
206. Defendants have unlawfully increased their profits by luring, and deceiving producers,
   musicians, writers, creators, and artists such as Plaintiff to transport drugs (ecstasy, cocaine,
   GHB, ketamine, marijuana, and mushrooms), transport firearms, solicit minors, exotic
   dancers, sex workers, and to utilize their talents and labor to produce music, and other tangible
   goods and services without compensation.
207. The RICO enterprise, which all Defendants have engaged in, and the activities of which
   affected interstate and foreign commerce, is comprised of an association, in fact, of persons,
   including each Defendant and other unnamed co-conspirators. That association, in fact, was
   structured by various contracts and non-contractual relationships between the Defendants, by
   which Defendants assumed different roles in agreeing to carry out a mail and wire fraud
   scheme to acquire drugs, firearms, prostitutes, minors, sex workers and the labor of producers,
   musicians, writers, creators, and artists such as Plaintiff to utilize their talents and labor to
   produce music, and other tangible goods and services without compensation.
208. The members of the RICO enterprise all share a common purpose: to enrich themselves
   financially and sexually at the expense of producers, musicians, writers, creators, and artists
   by maximizing Defendants’ revenues through fraudulent means.                As set forth herein,
   Defendants benefitted financially from their scheme to defraud Plaintiff, by intimidating
   Plaintiff with threats of violence (threatening to eat Plaintiff’s face, displaying and distributing
   guns in Plaintiff’s presence, bragging about having law enforcement under control, bragging
   about murdering people, and bragging about bribing witnesses, and jurors in the criminal case
   concerning the 1999 NYC nightclub shooting with Shyne), threats of isolation from the music
   and entertainment industry (parading powerful music industry executives such as Defendants
   Lucian Charles Grainge, Ethiopia Habtemariam at his parties filled with sex workers, minors,
   and illegal drugs, such as ecstasy, cocaine, GHB, ketamine, marijuana, and mushrooms),
   threats of nonpayment for work completed, fake promises of cash payments ($250,000),
   producer of the year Grammy awards, and guaranteed access to future projects, a $20 million




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     dollar home on Star Island in Miami, which Defendants would not have done but for the
     existence of the scheme.
 209. The members of the RICO enterprise all share a common purpose: to enrich themselves
     financially and sexually at the expense of producers, musicians, writers, creators, and artists
     by maximizing Defendants’ revenues through fraudulent means. As set forth herein,
     Defendants benefitted financially from their scheme to defraud Plaintiff, including by making
     false representations that claim that loyalty and obedience to Mr. Combs will result in cash
     payments ($250,000), Grammy awards, access to future projects, access to famous celebrities,
     access to famous athletes, a $20 million home on Star Island in Miami. Promises that Plaintiff
     can increase his chances of securing cash payments ($250,000), Grammy awards, access to
     future projects, access to famous celebrities, access to famous athletes, a $20 million home
     on Star Island in Miami by soliciting sex workers, by soliciting prostitutes, by engaging is
     homosexual acts, by distributing and transporting firearms, by distributing and transporting
     drugs (ecstasy, cocaine, GHB, ketamine, marijuana, and mushrooms), by involuntarily
     sleeping with sex workers in the presence of Mr. Combs, and by utilizing their talents and
     labor to produce music, and other tangible goods and services without compensation, which
     Defendants would not have done but for the existence of the scheme.
 210. Upon information and belief, this RICO enterprise has existed for at least 20 years, dating
     back to the 1999 Nightclub shooting in NYC, when Mr. Combs required his then-girlfriend,
     Jennifer Lopez, to transport his illegal firearm into the NYC nightclub. Mr. Combs forced his
     then-artist, Shyne, to assume responsibility for the shooting of several individuals. Mr. Combs
     used his power, money, and influence to bribe jurors and witnesses, such as the friend of the
     shooting victim, Natania Reuben28, who reported to law enforcement that she saw Mr. Combs
     and not Shyne pull the trigger and shoot her friend in the face. Natania Reuben’s friend later
     testified at Mr. Combs’ criminal trial that she was tying her shoe and may not have seen who
     shot the gun. She later confessed that Mr. Combs paid her.
 211. The RICO enterprise continued throughout the years, including during Mr. Combs's ten-
     year relationship with his girlfriend, Cassie Ventura. According to Ms. Ventura’s civil
     complaint, this RICO enterprise continued in her relationship when Mr. Combs forced her to


28
   Sean Combs Shot Natania Reuben in the face.
https://twitter.com/artofdialogue /status/1763077925312626840?s=10&t=BXbfHrW6wd dVPFNUUlOUQ


                                                                                                 41
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   carry his gun in her purse, forced her to engage in unwanted sexual acts with male
   prostitutes/sex workers, forced her to consume dangerous amounts of ecstasy, cocaine, GHB,
   ketamine, marijuana and alcohol, and paying a member of his security team $5,000, to blow
   up the vehicle of Kid Cudi because he was jealous and insecure of their relationship.
212. The RICO enterprise continued from September 2022 to the present day. As evidenced by
   the hundreds of hours of video and audio recordings in Plaintiff’s possession, Defendants
   Sean Combs, Justin Combs, Kristina Khorram, his assistants and staff all orchestrated,
   participated, managed and executed the RICO Enterprise by purchasing and distributing
   ecstasy, cocaine, GHB, ketamine, marijuana, and mushrooms, by purchase and distributing
   firearms, by requiring the solicitation of sexual encounters with prostitutes, sex workers, and
   minors, and by forcing artists, creatives, musicians, and producers to utilize their talents and
   labor to produce music, and other tangible goods and services without compensation. The
   RICO enterprise has functioned as a continuing unit and maintains an ascertainable structure
   separate and distinct from the pattern of racketeering activity.
213. The enterprise was characterized by the Defendants' pattern of false representations and
   omissions made by Defendants Sean Combs, Justin Combs, Kristina Khorram, and other
   current and former members of the Defendants' associates and staff to Defendants' artists,
   creatives, musicians, and producers. These false representations and omissions were designed
   to induce Defendants' artists, creatives, musicians, and producers to utilize their talents and
   labor to produce music and other tangible goods and services without compensation, as well
   as the solicitation of sexual encounters with prostitutes, sex workers, and minors, and the
   purchasing and distribution of illegal firearms and drugs.
214.   As part of this scheme, Defendants required their artists, creatives, musicians, and
   producers to visit strip clubs wearing exclusive authentic Bad Boy merchandise and to use the
   name and reputation of Mr. Combs to solicit sex workers and prostitutes. Additionally, Mr.
   Combs used the prospects of winning Grammy awards, purchasing $20 million dollar homes,
   participating in future projects, making $250,000 cash payments, and meeting influential
   music industry executives such as Defendants Lucian Charles Grainge and Ethiopia
   Habtemariam. This pattern of false representations was disseminated to artists, creatives,
   musicians, and producers who reside in California, Florida, New York, and around the country
   by Defendants based in California and New York under the direction and on behalf of



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   Defendants in New York. The dissemination typically used interstate telephone wires, social
   media messages, and electronic mail.
215. The true nature of Defendants’ scheme was left undisclosed, was omitted, and/or was
   affirmatively misrepresented, all to fraudulently increase Defendants’ profits, at least some of
   which were used to expand the enterprise, causing further injury to Plaintiff Jones and other
   unwitting artists, creatives, musicians, and producers.
216. Defendants profited from the enterprise, and Plaintiff Jones suffered because the enterprise
   diminished Plaintiff Jones finances due to 13 months of nonpayment and diminished Plaintiff
   Jones health through consistent drugging and forced sexual encounters with prostitutes and
   sex workers. Defendants used the proceeds from this scheme to advance the scheme by
   funding and operating their marketing machine, including through the use of the mail, social
   media, word of mouth, and interstate wires to sell the illusion that Mr. Combs was serious
   about the talents and skills of the artists, creatives, musicians, and producers, and wanted to
   use those skills to make music when nothing could be further from the truth. Defendants
   provided their artists, creatives, musicians, and producers with this misrepresentative
   information, including via email all over interstate wireline communications systems and
   obtaining free labor, the distribution of drugs and firearms, as well as prostitutes, sex workers,
   and minors.    Defendants obtained revenue via wire transfers, documents, and banking
   transactions that were exchanged via electronic means over interstate wires, thereby growing
   the enterprise and causing further injury to Plaintiff Jones as described throughout.
217. The Defendants’ scheme was reasonably calculated to deceive Plaintiff Jones, artists,
   creatives, musicians, and producers of ordinary prudence and comprehension through the
   execution of their complex and illegal scheme to misrepresent the effectiveness of soliciting
   prostitutes, sex workers, and minors and distributing drugs and guns that did not, would not,
   and could not lead to securing Grammy Awards, purchasing $20 million homes, participating
   on future projects, $250,000 cash payments, and meeting influential music industry
   executives such as Defendants Lucian Charles Grainge, and Ethiopia Habtemariam. Plaintiff
   Jones would not have lived with Mr. Combs for 13 months, missing birthdays, holidays, and
   family events, but for the illegal racketeering scheme operated by Defendants.
218. Defendants each had the specific intent to participate in the overall RICO enterprise and
   the scheme to defraud Plaintiff Jones and each participated in the enterprise as follows:



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219. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Combs Global, Motown
   Records, Love Records, and Universal Music Group control and participate in the activities
   of the enterprise in a variety of ways as set forth herein, including but not limited to developing
   and marketing scores of writing camps, and listening parties services that are marketed to
   innocent, unassuming artists, creatives, musicians, and producers who are vulnerable and in
   seek of opportunities to work and share their craft.
220. Throughout the relevant period, Defendants Lucian Charles Grainge, Ethiopia
   Habtemariam, Combs Global, Motown Records, Love Records, and Universal Music Group
   oversaw the activities of Defendants Sean Combs, Justin Combs, Kristina Khorram and other
   current and former members of the Defendants’ associates and staff (collectively, “Individual
   Defendants”). Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Combs Global,
   Motown Records, Love Records, and Universal Music Group has an ethical obligation as
   respondent superior to supervise the actions and activities of the individual defendants.
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Combs Global, Motown
   Records, Love Records, and Universal Music Group failed miserably to do so. Individual
   defendants relied on the mail, email, social media, and the telephone to distribute
   advertisements to secure artists, creatives, musicians, and producers whom they would
   promise Grammy Awards, purchasing $20 million dollar homes, participating on future
   projects, $250,000 cash payments, and meeting powerful music industry executives such as
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam. These advertisements originated
   from and were sent from Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Combs
   Global, Motown Records, Love Records, and Universal Music Group’s offices in the state of
   New York to consumers in New York and around the country, relying on the mail, email. social
   media messenger, and telephone to distribute and interstate wires to disseminate the
   misleading information described herein as well as to receive profits from the artists,
   creatives, musicians, and producers.
221. In connection with Defendants acting from New York, these Defendants used the mail and
   interstate wires to solicit Plaintiff Jones and artists, creatives, musicians, and producers, and
   to use Plaintiff Jones and the artists, creatives, musicians, and producers to utilize their talents
   and labor to produce music, and other tangible goods and services without compensation, as
   well as the solicitation of sexual encounters with prostitutes, sex workers, and minors, and the



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   purchasing and distribution of illegal firearms and drugs. Each of these acts was undertaken
   with the knowledge and approval of all other Defendants in furtherance of the goals of their
   conspiracy.
222. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Combs Global, Motown
   Records, Love Records, and Universal Music Group, directs, controls, and participates in the
   activities of the enterprise in a variety of ways as set forth herein, including as the employer,
   parent company, sponsor and respondent superior of Defendants Sean Combs, Justin Combs,
   Kristina Khorram and other current and former members of the Defendants’ associates and
   staff.   Throughout the relevant period, Defendants Lucian Charles Grainge, Ethiopia
   Habtemariam, Combs Global, Motown Records, Love Records, and Universal Music Group,
   oversaw the marketing and soliciting of potential artists, creatives, musicians, and producers
   from their Headquarters in New York, California and Florida to consumers in New York,
   California and Florida, and around the country, relying on the mail, email, social media, text
   messages, and WhatsApp messages to distribute, interstate wires to disseminate the
   misleading information described herein as well as to receive profits from the artists,
   creatives, musicians, and producers from their forced solicitation of sex workers, and the
   solicitation of sexual encounters with prostitutes, sex workers, and minors, and the purchasing
   and distribution of illegal firearms and drugs. Each of these acts was undertaken with the
   knowledge and approval of all other Defendants in furtherance of the goals of their conspiracy.
223. Robin Greenhill, the accountant, would ensure the wiring, funds transfer, or cash payments
   to sex workers. Frankie Santella, Moy Baun, Brendan Paul, and KK would also be responsible
   for ensuring payment to sex workers in cash. Yung Miami, Jade, and Daphne Joy were paid a
   monthly fee to work as Mr. Combs’ sex workers and received payment via wire transfer from
   Robin Greenhill which outlined Defendants ongoing criminal operation.
224. During the ten (10) years preceding the filing of this action and to the present, all
   Defendants did cooperate jointly and severally in the commission of three (3) or more of the
   predicate acts that are itemized at 18 U.S.C. §§ 1961(1)(A) and (B), in violation of 18 U.S.C.
   1962(d), as described in this Complaint.
225. Beginning at an exact date unknown to Plaintiff, but within ten (10) years preceding the
   filing of this action, Defendants have knowingly, willfully, and unlawfully participated in a
   pattern of racketeering activity that continues to this day.



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226. The acts set below (“Racketeering Acts”) had the same pattern and purpose to defraud
   Plaintiff for the benefit of Defendants. Each Racketeering Act involved the same or similar
   methods of commission and participants.
227. Without the repeated predicate acts, the ability to conduct their fraud using the mail and
   telecommunications wires, and the money laundering, the Defendants’ business would not
   have succeeded.
228. The separate Racketeering Acts all relate to each other in that they were part of concerted
   actions by Defendants to use the endorsement and channels of the enterprise to operate their
   businesses to fraudulently induce Plaintiff Jones and the artists, creatives, musicians, and
   producers to utilize their talents and labor to produce music, and other tangible goods and
   services without compensation, as well as the solicitation of and sexual encounters with
   prostitutes, sex workers, and minors, and the purchasing and distribution of illegal firearms
   and drugs.
229. The separate Racketeering Acts all relate to each other in that they were part of concerted
   actions by Defendants to use the endorsement and channels of the enterprise to operate their
   businesses to fraudulently induce Plaintiff Jones and the artists, creatives, musicians, and
   producers to utilize their talents and labor to produce music, and other tangible goods and
   services without compensation, as well as the solicitation of and sexual encounters with
   prostitutes, sex workers, and minors, and the purchasing and distribution of illegal firearms
   and drugs.
230. The Defendants’ wrongful conduct has caused injury to Plaintiff Jones, remains a part of
   their ongoing business practices, and remains a continuing threat to Plaintiff Jones and the
   public.
231. Defendants’ association with the enterprise enabled Defendants to conduct, direct, and
   control a pattern of fraudulent, illegal activities over a substantial number of years, which
   continues to this day.
232. To further their goals, Defendants, working in concert, engaged in various forms of
   criminal activity, including the solicitation of and sexual encounters with prostitutes, sex
   workers, and minors, and the purchasing and distribution of illegal firearms and drugs.
233. Defendants’ ongoing pattern of racketeering activity has injured and continues to injure
   Plaintiff Jones. The Defendants’ pattern of forcing Plaintiff Jones and the artists, creatives,



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    musicians, and producers to solicit sexual encounters with prostitutes, sex workers, and
    minors, and to purchase and distribute illegal firearms and drugs was the proximate cause of
    the injuries suffered by Plaintiff.
Defendants Committed Multiple Acts of Mail Fraud in Violation of 18 U.S.C. § 1341 in
Furtherance of the Enterprise
 234. Defendants voluntarily and intentionally devised and participated in a scheme to defraud
    Plaintiffs out of money, in reliance on the mail. Defendants committed these acts with the
    intent to defraud Plaintiff Jones and the artists, creatives, musicians, and producers.
235. Defendants used the mail for the purpose of executing the fraudulent scheme herein.
236. Specifically, Defendants agreed to each of the acts of mail fraud described throughout this
    Complaint. In addition, Defendants agreed to rely on the mail to secure wire frauds, cash
    payments from purchasers of the illegal firearms and drugs Defendants required others to sell
    and distribute.
237. In furtherance of and for purposes of executing the above-described fraudulent and illegal
    course of conduct and scheme to defraud, Defendants, either individually or in combination
    with themselves, used and caused to be used the U.S. mail by both placing and causing to be
    placed cash, letters, marketing materials, advertisements, agreements and other matters in
    depositories and by removing or causing to be removed letters and other mailable matters
    from depositories, in violation of the mail fraud statute, 18 U.S.C. § 1341.
238. Defendants could not have furthered their fraud without the use of the mail. For example,
    Defendants sought to acquire wire transfers, cash payments, and to utilize their talents and
    labor to produce music, and other tangible goods and services without compensation.
    Defendants also required the mail to distribute misleading advertisements to various states,
    including New York. For these reasons, the use of mail to conduct fraudulent activity was
    necessary and inevitable.
Defendants Committed Multiple Acts of Wire Fraud in Violation of 18 U.S.C. § 1343 in
Furtherance of the Enterprise
 239. Defendants voluntarily and intentionally devised and participated in a scheme to defraud
    Plaintiff out of money, in reliance on the mail. Defendants committed these acts with the
    intent to defraud Plaintiff Jones and the artists, creatives, musicians, and producers.
240. Specifically, Defendants agreed to each of the acts of wire fraud described throughout this
    Complaint. In addition, Defendants agreed to rely on interstate wires to disseminate funds and



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    to submit payment to sex workers and prostitutes, as well as to transfer payment for the
    distribution and procurement of drugs and guns. Defendants illegally acquired wire transfers,
    money transfers, credit cards, and bank cards via search engines and other online platforms
    to further their collective goal of furthering their RICO enterprise. Defendants knew that these
    online purchases were illegally made.
241. Additionally, Defendants agreed that Defendants should facilitate these fraudulent
    purchases over interstate wires in furtherance of the fraud. Sex workers, and prostitutes
    nationwide have received payment from Defendants.
242. In furtherance of and for purposes of executing the above-described fraudulent and illegal
    course of conduct and scheme or artifice to defraud, Defendants, either individually or in
    combination with themselves, used or caused to be used interstate wire communications to
    transmit or disseminate false, fraudulent, and misleading communications and information, in
    violation of the wire fraud statute, 18 U.S.C. § 1343.
243. Defendants could not have furthered their fraud without the ability to use
    telecommunications to share information with clients and retailers nationwide. Because
    Defendants needed to communicate with clients and retailers around the country, the use of
    interstate telecommunications wires to conduct the fraudulent activity was necessary and
    inevitable.
244. Plaintiffs have been damaged in their business or property because Defendants violated 18
    U.S.C. § 1962(a), (c)-(d)), and, therefore, he is entitled to recover the damages and other
    remedies enumerated therein.
245. Defendants’ acts or omissions were actuated by actual malice and/or a willful and wanton
    disregard for the consequences suffered by the Plaintiff and/or with knowledge of a high
    degree of probability of harm to the Plaintiff and reckless indifference to the consequences of
    their acts or omissions.
246. Compensatory damages alone will be insufficient to deter such conduct in the future. There
    needs to be a criminal referral to the United States Justice Department, as well as to the States
    Attorney General’s Office.
WHEREFORE, Plaintiff requests that the Court issue an Order and grant Judgment to the
Plaintiffs as follows:




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         a. Granting Plaintiff statutory, common law, and punitive damages, and applicable pre-
            and post-judgment interest, in full recompense for damages;29
         b. Entering judgment according to the declaratory relief sought;
         c. Granting Plaintiff such other and further relief, including, without limitation,
            injunctive and equitable relief, as the Court deems just in all the circumstances; and
         d. Granting Plaintiff an Incentive or Service Award reflective of the work done in
            prosecuting this action, the time spent, the effort and hard costs invested, and results
            obtained, in light of the Court's judgment informed by awards in other similar cases
            of comparable difficulty and complexity.

                             SECOND CAUSE OF ACTION
                  SEXUAL ASSAULT AND SEXUAL HARASSMENT
                                    (against Mr. Combs)
 247. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
     forth fully herein.
 248. As described above, Mr. Combs frightened and placed Plaintiff in apprehension of harm
     when he physically and sexually assaulted him from October 2022 to October 2023 in Mr.
     Combs home in Miami, New York, United States Virgin Islands, and Los Angeles.
 249. Mr. Combs forcibly touched and attempted and/or threatened to touch Plaintiff’s intimate
     areas and/or touched Plaintiff with his own intimate body parts.
 250. Mr. Combs violently gripped and palmed Mr. Jones anus and crotch without consent. Mr.
     Combs forced Mr. Jones to work in Mr. Combs’ bathroom and watch Mr. Combs as he
     showered. Mr. Combs forced Mr. Jones to work in the studio while Mr. Combs stripped naked
     to get his body massaged. Mr. Combs forced Mr. Jones to work while Mr. Combs walked
     around naked.
 251. As a result of Mr. Combs’ conduct, Plaintiff has suffered and continues to suffer harm,
     including physical injury, severe emotional distress, humiliation, anxiety, and other
     consequential damages for which he is entitled to an award of monetary damages and other
     relief.
 252. The conduct of Mr. Combs described above was willful, wanton, and malicious. At all
     relevant times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings,
     acted with the knowledge of or with reckless disregard for the fact that his conduct was certain
     to cause injury and/or humiliation to Plaintiff, and intended to cause fear, physical injury


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 Damages shall include, but not be limited to, all damages permitted under the New Jersey Racketeer Influenced and
Corrupt Organizations Act.


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   and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover
   punitive damages.
                             THIRD CAUSE OF ACTION
           CALIFORNIA’S BYSTANDER NEGLIGENT INFLICTION OF
                               EMOTIONAL DISTRESS
                  (against, Mr. Combs and Defendant Justin Combs)
253. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
254. Mr. Jones brings this claim against Mr. Combs and J. Combs for the CRS shooting of G.
255. The elements of Bystander NIED are: 1) is closely related to the injury victim; (2) is present
   at the scene of the injury-producing event at the time it occurs and is then aware that it is
   causing injury to the victim; and (3) as a result suffers serious emotional distress—a reaction
   beyond that which would be anticipated in a disinterested witness and which is not an
   abnormal response to the circumstances.” Ra v. Superior Court, 154 Cal. App. 4th 142, 148,
   64 Cal. Rptr. 3d 539, 542 (2007).
256. As detailed above, Mr. Jones was 2 feet away from G, as either J. Combs or Mr. Combs
   shot him multiple times in the restroom of CRS. As detailed above, Mr. Jones was the only
   individual that aided G as he laid on the bathroom floor in a fetal position bleeding out. As
   detailed above, Mr. Combs and J. Combs orchestrated a coverup, and through Faheem
   Muhammad, lied to the LAPD and forced Mr. Jones and all of the other attendees of the
   writers camp to lie to the police as well. Mr. Combs and J. Combs knew that they shot G in
   the restroom, and that G was shot as he was leaving the studio.
257. Mr. Combs and J. Combs’ intentional deception caused a delay in G receiving immediate
   medical care, as the ambulance parked 3 blocks away from CRS out of fear that there was an
   active shooting. Mr. Jones had to run down the block and convince them that the shooting
   had ended.
258. These events traumatized Mr. Jones. It caused Mr. Jones to suffer from insomnia, PTSD,
   severe anxiety, and depression. Additionally, the fear and silence from the remaining
   witnesses aided in the reinforcement of Mr. Combs statements that he is untouchable.
259. As a result of Mr. Combs and J. Combs conduct, Plaintiff Jones has suffered and continues
   to suffer harm, including severe emotional distress, anxiety, and other consequential damages
   for which he is entitled to an award of monetary damages and other relief.



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 260. The conduct of Mr. Combs and J. Combs described above was willful, wanton, and
      malicious. At all relevant times, Mr. Combs and J. Combs acted with conscious disregard for
      Plaintiff's rights and feelings, acted with the knowledge of or with reckless disregard for the
      fact that their conduct was certain to cause injury to Plaintiff, and intended to cause fear,
      physical injury and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is
      entitled to recover punitive damages.

                             FOURTH CAUSE OF ACTION
                                    SEXUAL ASSAULT
                       (against Jane Doe 1 (Yung Miami’s Cousin))
 261. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
      forth fully herein.
 262. As described above, Jane Doe 1 frightened and placed Plaintiff in apprehension of harm
      when she physically and sexually assaulted him on Thanksgiving Day 2022, in Mr. Combs
      home in Miami Florida.
 263. Jane Doe 1 forcibly touched and attempted and/or threatened to touch Plaintiff’s intimate
      areas and/or touched Plaintiff with her own intimate body parts. Jane Doe 1 used her mouth
      and performed oral sex on Plaintiff while he was urinating in the restroom. Plaintiff fought
      her off, while Mr. Combs and his associates sat outside loudly laughing. Jane Doe 1 then
      followed Mr. Jones outside of the restroom and began undressing in front of Mr. Combs and
      his associates, straddled Mr. Jones and attempted to have forced sexual intercourse with him.
 264. As a result of Jane Doe 1’s conduct, Plaintiff has suffered and continues to suffer harm,
      including physical injury, severe emotional distress, humiliation, anxiety, and other
      consequential damages for which he is entitled to an award of monetary damages and other
      relief.
 265. The conduct of Jane Doe 1 described above was willful, wanton, and malicious. At all
      relevant times, Jane Doe 1 acted with conscious disregard for Plaintiff's rights and feelings,
      acted with the knowledge of or with reckless disregard for the fact that her conduct was certain
      to cause injury and/or humiliation to Plaintiff, and intended to cause fear, physical injury
      and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover
      punitive damages.
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                               FIFTH CAUSE OF ACTION
      PREMISES LIABILITY FOR THE SEXUAL ASSAULT COMMITTED BY
                       JANE DOE 1 (YUNG MIAMI’S COUSIN)
                                    (against Mr. Combs)
 266. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
      forth fully herein.
 267. Mr. Jones was sexually assaulted by Jane Doe 1 in Miami, Florida on Thanksgiving 2022.
      Mr. Combs was present while Mr. Jones was being assaulted by Jane Doe 1. Mr. Jones was
      legally on the premises as a guest and invitee of Mr. Combs. Jane Doe 1 was legally on the
      premises as a guest and invitee of Mr. Combs. Mr. Combs owned the premises and had
      dominion and control over the premises where Mr. Jones was harmed. Mr. Combs had
      dominion and control over the actions of Jane Doe 1 and failed to step in and stop Jane Doe
      1 from sexually assaulting Mr. Jones.
 268. As the owner of the property, Mr. Combs had a duty to protect Mr. Jones from the harm he
      suffered at the hands of Jane Doe 1. Mr. Combs breached his duty when he failed to stop Jane
      Doe 1 from sexually assaulting Mr. Jones. In furtherance of this breach, Mr. Combs was
      laughing and encouraging Jane Doe 1 to continue her assault of Mr. Jones. Mr. Jones has
      suffered immensely because of Mr. Combs intentional breach of his duty to him.
 269. As a result of Mr. Combs breach of his duty, Mr. Jones has suffered and continues to suffer
      harm, including severe emotional distress, anxiety, and other consequential damages for
      which he is entitled to an award of monetary damages and other relief.
 270. The conduct of Mr. Combs described above was willful, wanton, and malicious. At all
      relevant times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings,
      acted with the knowledge of or with reckless disregard for the fact that their conduct was
      certain to cause injury to Plaintiff, and intended to cause fear, physical injury and/or pain and
      suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover punitive
      damages.
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                              SIXTH CAUSE OF ACTION
      PREMISES LIABILITY FOR THE SEXUAL ASSAULT COMMITTED
                               BY CUBA GOODING, JR.
                                  (against, Mr. Combs)
271. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
      forth fully herein.
272. Here, Mr. Jones was sexually assaulted by Cuba Gooding Jr. on a yacht rented by Mr.
      Combs in the US Virgin Islands in January 2023. Mr. Combs was present while Mr. Jones
      was being assaulted by Cuba Gooding Jr. Mr. Jones was legally on the premises as a guest
      and invitee of Mr. Combs. Cuba Gooding Jr was legally on the premises as a guest and invitee
      of Mr. Combs. Mr. Combs owned (through renting) the premises and had dominion and
      control over the premises where Mr. Jones was harmed. Mr. Combs had dominion and control
      over the actions of Cuba Gooding Jr and failed to step in and stop Cuba Gooding Jr from
      sexually assaulting Mr. Jones.
273. As the owner of the property, Mr. Combs had a duty to protect Mr. Jones from the harm he
      suffered at the hands of Cuba Gooding Jr. Mr. Combs breached his duty when he failed to
      stop Cuba Gooding Jr from sexually assaulting Mr. Jones. In furtherance of this breach, Mr.
      Combs encouraged Cuba Gooding Jr to continue his assault of Mr. Jones when he said that
      Cuba Gooding Jr should privately get to know Mr. Jones better. Mr. Jones has suffered
      immensely because of Mr. Combs intentional breach of his duty to him.
274. As a result of Mr. Combs breach of his duty, Mr. Jones has suffered and continues to suffer
      harm, including severe emotional distress, anxiety, and other consequential damages for
      which he is entitled to an award of monetary damages and other relief.
275. The conduct of Mr. Combs described above was willful, wanton, and malicious. At all
      relevant times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings,
      acted with the knowledge of or with reckless disregard for the fact that his conduct was certain
      to cause injury to Plaintiff, and intended to cause fear, physical injury and/or pain and
      suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover punitive
      damages.
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                            SEVENTH CAUSE OF ACTION
                TRAFFICKING AND VICTIMS’ PROTECTION ACT
      (against, Defendants Sean Combs, Justin Combs, Kristina Khorram, And
                                     Combs Global)
276. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
277. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global knowingly
   and intentionally participated in, perpetrated, assisted, supported, facilitated a sex-trafficking
   venture that was in and affecting interstate and foreign commerce, together and with others,
   in violation of 18 U.S.C. § 1591(a)(1).
278. Among other things, Defendants Sean Combs, Justin Combs, Kristina Khorram, and
   Combs Global knowingly and intentionally recruited, enticed, provided, obtained, advertised,
   and solicited by various means Mr. Jones, as well as other Class Members, knowing that
   Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global would use
   means of force, threats of force, fraud, coercion, and a combination of such means to cause
   Mr. Jones, as well as others, some of whom were under the age of seventeen, to engage in
   commercial sex acts.
279. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global and its
   employees had actual knowledge that they were perpetrating and facilitating Mr. Combs’
   sexual abuse and sex trafficking conspiracy to recruit, solicit, entice, coerce, harbor, transport,
   obtain, and provide Mr. Jones as well as others whom were under the age of seventeen, into
   commercial sex acts, through the means of force, threats of force, fraud, abuse of process, and
   coercion.
280. Despite such knowledge, Defendants Sean Combs, Justin Combs, Kristina Khorram, and
   Combs Global intentionally paid for, facilitated, perpetrated, and participated in Mr. Combs’
   violations of 18 U.S.C. § 1591(a)(1), which Defendants Sean Combs, Justin Combs, Kristina
   Khorram, and Combs Global knew, and were in reckless disregard of the fact that, Mr. Combs
   would coerce, defraud, and force Mr. Jones to engage in commercial sex acts.
281. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s actions
   were in and affecting interstate and foreign commerce, including its music distributing and
   publishing activities which were in and affecting interstate and foreign commerce.




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282. By taking the concrete steps alleged in this complaint, Defendants Sean Combs, Justin
   Combs, Kristina Khorram, and Combs Global knowingly participated in sex trafficking and
   furthered the Combs’ sex-trafficking venture. The concrete steps constituted taking part in the
   sex-trafficking venture and were necessary for its success. The concrete steps constituted
   active engagement by Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs
   Global in Mr. Combs’s sex-trafficking venture. Defendants Sean Combs, Justin Combs,
   Kristina Khorram, and Combs Global knew that its active engagement would lead to and
   cause coercive commercial sex-trafficking.
283. As part of perpetrating TVPA violations, between on or about September 12, 2022, and
   through about November 2023, Defendants Sean Combs, Justin Combs, Kristina Khorram,
   and Combs Global concealed its delivery of hundreds of thousands of dollars in cash to Mr.
   Combs and his associates.
284. As part of perpetrating TVPA violations, Defendants Sean Combs, Justin Combs, Kristina
   Khorram, and Combs Global also willfully failed to file required taxes with the federal
   government.
285. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s
   affirmative conduct was committed knowing, and in reckless disregard of the facts, that Mr.
   Combs would use cash and the financial support provided by Defendants Love Records,
   Motown Records, and the Universal Music Group as a means of defrauding, forcing, and
   coercing sex acts from Plaintiff Jones as well as others. Defendants Sean Combs, Justin
   Combs, Kristina Khorram, and Combs Global’s conduct was outrageous and intentional. On
   or about January 2023 Justin Combs engaged in a freak off session on a yacht with his father
   and sex workers.
286. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s knowing
   and intentional conduct has caused Mr. Jones serious harm including, without limitation,
   physical, psychological, emotional, financial, and reputational harm.
287. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s knowing
   and intentional conduct has caused Mr. Jones harm that is sufficiently serious, under all the
   surrounding circumstances, to compel a reasonable person of the same background and in the
   same circumstances to perform or to continue performing commercial sexual activity, in order
   to avoid incurring that harm.



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288. This case does not involve mere fraud. Instead, Defendants Sean Combs, Justin Combs,
   Kristina Khorram, and Combs Global’s criminal conduct in perpetrating TVPA violations
   was outrageous and intentional, because it was in deliberate furtherance of a widespread and
   dangerous criminal sex trafficking organization. Defendants Sean Combs, Justin Combs,
   Kristina Khorram, and Combs Global’s criminal conduct also evinced a high degree of moral
   turpitude and demonstrated such wanton dishonesty as to imply a criminal indifference to
   civil obligations. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs
   Global’s criminal conduct was directed specifically at Mr. Jones who was the victim of Mr.
   Combs’ sexual abuse and sex trafficking harassment.
289. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s
   outrageous and intentional conduct in this case is part of a pattern and practice of Defendants
   Sean Combs, Justin Combs, Kristina Khorram, and Combs Global profiting by undertaking
   illegal “high risk, high reward” actions.
290. By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(1), 1595,
   Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global is liable to Mr.
   Jones for the damages they sustained and reasonable attorneys’ fees.
291. By virtue of these intentional and outrageous violations of 18 U.S.C. § 1591(a)(1), 1595,
   Defendants Sean Combs, Justin Combs, Kristina Khorram is liable to Mr. Jones.


                             EIGHT CAUSE OF ACTION
CALIFORNIA PREMISE LIABILITY - INADEQUATE OR NEGLIGENT SECURITY
             (against, Defendants LR, MR, UMG, CRS, and Sean Combs)
292. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
293. At all times herein mentioned, Defendants LR, MR, UMG, CRS, AND SEAN COMBS,
   acting in the course and scope of their agency, employment, and representation of each other
   and with the knowledge, consent, direction, approval, and ratification of each other's act,
   omissions and conduct, on or about September 12, 2022 at the Chalice Recording Studios
   located at 845 Highland Ave, Los Angeles, CA 90038, did so negligently, carelessly and
   without due care, regard and concern for the rights, safety and health of the Plaintiff, and in
   regard to such premises did so control, own, supervise, manage, lease and had responsibility




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      for the safety of Plaintiff and adequate security, security personnel and security devices of the
      CRS.
 294. At the aforementioned time and place, Defendants LR, MR, UMG, CRS, AND SEAN
      COMBS, and each of them, negligently maintained, managed, controlled, and operated the
      Chalice Recording Studios, in that they did not maintain and provide adequate security for the
      Plaintiff or the other artists, producers, and songwriters and creatives who attended Sean
      Combs Love Album writers camp. Defendants knew, or in the exercise of reasonable care
      should have known, security was required and necessary and the lack of such security could
      constitute a dangerous condition and unreasonable risk of harm of which Plaintiff was at all
      times herein mentioned unaware. Defendants LR, MR, UMG, CRS, AND SEAN COMBS
      had security check the song writers, producers, and artists, but neglected to search Justin
      Combs and Sean Combs for the possession of firearms when they entered CRS. Defendants
      LR, MR, UMG, CRS, AND SEAN COMBS negligently failed to take steps to either provide
      adequate security and make the condition safe or warn Plaintiff of the dangerous condition,
      all of which caused Plaintiff to suffer injuries.
 295. As a proximate result of the negligence of defendants, and each of them, Plaintiff was hurt
      and injured in his health, strength, and activity, sustaining injuries to their nervous system and
      person, all of which injuries have caused, and continue to cause, Plaintiff great mental,
      physical, and nervous pain and suffering. As a result of such injuries, Plaintiff have suffered
      general damages in an amount according to proof.
 296. As a further proximate result of the negligence of defendants Plaintiff has incurred, and
      will continue to incur, medical and related expenses in an amount according to proof.
WHEREFORE, Plaintiff pray for judgment against Defendants, and each of them, as follows:
         a.   General damages according to proof;
         b.   For actual medical expenses incurred;
         c.   For future medical expenses, according to proof;
         d.   For loss of earning;
         e.   For interest, according to law;
         f.   For costs of suit incurred herein; and
         g.   For such other and further relief as the Court may deem just and proper.
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                             NINTH CAUSE OF ACTION
    AIDING, ABETTING, AND INDUCING A SEX-TRAFFICKING VENTURE IN
                  VIOLATION OF THE TRAFFICKING VICTIMS’
              PROTECTION ACT, 18 U.S.C. §§ 2, 1591(a)(1) & (2), 1595
         (against Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
               Motown Records, Love Records, Universal Music Group)
297. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
298. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, Universal Music Group aided, abetted, and induced Sean Combs’ sex-trafficking
   venture that was in and affecting interstate and foreign commerce, together and with others,
   in violation of 18 U.S.C. §§ 2, 1591(a)(1) & (a)(2).
299. The crimes that Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, Universal Music Group aided and abetted are (1) Mr. Combs’s
   perpetrating of coercive sex trafficking, in violation of 18 U.S.C. § 1591(a)(1), and (2) Mr.
   Combs’ co-conspirators knowingly benefitting from coercive sex trafficking, in violation of
   18 U.S.C. § 1591(a)(2). These crimes were in and affecting interstate and foreign commerce.
300. Mr. Combs’ co-conspirators benefitted financially and received things of value from their
   participation in the Combs sex-trafficking venture, including payments and other
   compensation from Mr. Combs. The co-conspirators who benefitted financially include
   Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie Santella, and
   Moy Baun.
301. Under 18 U.S.C. § 2, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, Universal Music Group are punishable as a principal under 18 U.S.C.
   §§ 1591(a)(1) & (a)(2) and thereby committed and perpetrated violations of Chapter 77, Title
   18, U.S. Code, when it aided, abetted, counseled, commanded, induced, and procured Combs’
   and his co-conspirators sex-trafficking venture and sex trafficking of Plaintiff Jones, as well
   as other underaged persons.
302. Under 18 U.S.C. § 2, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, Universal Music Group committed and perpetrated crimes in
   violation of 18 U.S.C. §§ 1591(a)(1) & (a)(2) by aiding, abetting, inducing, and procuring
   Combs’ and his co-conspirator’s sex-trafficking venture and the sex trafficking of Mr. Jones.
   As a consequence, Mr. Jones is a victim of Defendants J. Combs, Khorram and her direct



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   reports: Brendan Paul, Frankie Santella, and Moy Baun’s criminally aided, abettted, and
   inducing Combs’ and his co-conspirators’ violations of 18 U.S.C. §§ 1591(a)(1) & (a)(2).
303. Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie Santella, and
   Moy Baun itself directly committed and perpetrated violations of Chapter 77, Title 18, U.S.
   Code, including 18 U.S.C. §§ 1591(a)(1) & (a)(2), by aiding, abetting, and inducing the sex-
   trafficking venture and the sex trafficking of Plaintiff Jones. Defendants J. Combs, Khorram
   and her direct reports: Brendan Paul, Frankie Santella, and Moy Baun themselves directly
   violated Chapter 77 by committing and perpetrating these violations.
304. Among other things, Defendants J. Combs, Khorram and her direct reports: Brendan Paul,
   Frankie Santella, and Moy Baun aided, abetted, and induced Combs’ and his co-conspirators’
   sex-trafficking venture and sex trafficking of Plaintiff Jones knowing that Combs and his-
   conspirators would use means of force, threats of force, fraud, coercion, and a combination of
   such means to cause Mr. Jones some of whom were under the age of eighteen, to engage in
   commercial sex acts.
305. By aiding, abetting, and inducing Mr. Combs’ and his co-conspirators’ sex-trafficking
   venture and sex trafficking of Plaintiff. Defendants J. Combs, Khorram and her direct reports:
   Brendan Paul, Frankie Santella, and Moy Baun benefited, both financially and by receiving
   things of value, from participating in Combs’ sex-trafficking venture.
306. Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie Santella, and
   Moy Baun and its employees had actual knowledge that they were aiding, abetting, and
   inducing Combs’ and his co-conspirators’ sexual abuse and sex trafficking conspiracy to
   recruit, solicit, entice, coerce, harbor, transport, obtain, and provide Mr. Jones as well as
   others, into commercial sex acts, through the means of force, threats of force, fraud, abuse of
   process, and coercion. Defendants knew, and should have known, that Mr. Combs had
   engaged in acts in violation of the TVPA.
307. Despite such knowledge, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, Universal Music Group intentionally paid for and aided,
   abetted, and induced Combs’ violations of 18 U.S.C. §§ 1591(a)(1) & (a)(2), which
   constituted perpetrating violations of those laws under 18 U.S.C. § 2. Defendants Lucian
   Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, Universal Music




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   Group knew, and acted in reckless disregard of the fact that, Combs would coerce, defraud,
   and force Mr. Jones to engage in commercial sex acts.
308. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, Universal Music Group’s affirmative conduct of aiding, abetting, and inducing
   Combs’ violations was committed knowingly, and in reckless disregard of the facts, that Mr.
   Combs would use cash and financial support provided by Defendants Lucian Charles Grainge,
   Ethiopia Habtemariam, Motown Records, Love Records, Universal Music Group as a means
   of defrauding, forcing, and coercing sex acts from Mr. Jones. Defendants Lucian Charles
   Grainge, Ethiopia Habtemariam, Motown Records, Love Records, Universal Music Group’s
   conduct was outrageous and intentional.
309. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, Universal Music Group’s knowing and intentional conduct of aiding, abetting, and
   inducing Combs’s violations has caused Mr. Jones serious harm including, without limitation,
   physical, psychological, emotional, financial, and reputational harm.
310. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, Universal Music Group’s knowing and intentional conduct of aiding, abetting, and
   inducing Combs’s violations has caused Mr. Jones harm that is sufficiently serious, under all
   the surrounding circumstances, to compel a reasonable person of the same background and in
   the same circumstances to perform or to continue performing commercial sexual activity, in
   order to avoid incurring that harm.
311. This case does not involve mere fraud. Instead, Defendants’ criminal conduct in aiding,
   abetting, and inducing Combs’s violations of the TVPA was outrageous and intentional,
   because it was in deliberate furtherance of a widespread and dangerous criminal sex
   trafficking organization.   Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, Universal Music Group’s criminal conduct also evinced a
   high degree of moral turpitude and demonstrated such wanton dishonesty as to imply a
   criminal indifference to civil obligations. Defendants Lucian Charles Grainge, Ethiopia
   Habtemariam, Motown Records, Love Records, Universal Music Group’s criminal conduct
   was directed specifically at Mr. Jones, who was the victim of Mr. Combs’s sexual abuse and
   sex trafficking organization.




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312. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, Universal Music Group’s outrageous and intentional conduct in this case is part of
    a pattern and practice of Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
    Records, Love Records, Universal Music Group profiting by undertaking illegal “high risk,
    high reward” sponsorships, and partnerships.
313. By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(1), 1595,
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
    Universal Music Group is liable to Mr. Jones for the damages he sustained and reasonable
    attorneys’ fees.
314. By virtue of these intentional and outrageous violations of 18 U.S.C. §§ 1591(a)(1), 1595,
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
    Universal Music Group is liable to Mr. Jones for punitive damages.


                             TENTH CAUSE OF ACTION
                           NIED (FOR SEXUAL ASSAULT)
                (against Defendant Jane Doe 1 (Yung Miami’s Cousin))
315. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
    forth fully herein.
316. Jane Doe 1’s conduct created an unreasonable risk of causing emotional distress to Plaintiff,
    and Jane Doe 1 knew or should have known that such conduct was likely to result in emotional
    distress that might and/or likely would cause illness or bodily harm.
317. Plaintiff’s emotional distress was foreseeable to Jane Doe 1.
318. As a direct and proximate result of the negligent conduct of Jane Doe 1, Plaintiff suffered
    and will continue to suffer severe emotional distress.
 319. Jane Doe 1’s conduct was wanton, malicious, willful, and/or cruel, entitling the plaintiff to
    punitive damages.
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                          ELEVENTH CAUSE OF ACTION
                           NIED (FOR SEXUAL ASSAULT)
                                   (against Mr. Combs)
320. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
    forth fully herein.
321. Mr. Combs’ conduct created an unreasonable risk of causing emotional distress to Plaintiff,
    and Mr. Combs knew or should have known that such conduct was likely to result in emotional
    distress that might and/or likely would cause illness or bodily harm.
322. Plaintiff’s emotional distress was foreseeable to Mr. Combs.
323. As a direct and proximate result of the negligent conduct of Mr. Combs, Plaintiff suffered
    and will continue to suffer severe emotional distress.
324. Mr. Combs’ conduct was wanton, malicious, willful, and/or cruel, entitling the plaintiff to
    punitive damages.
                           TWELFTH CAUSE OF ACTION
                            IIED (FOR SEXUAL ASSAULT)
                     Defendant Jane Doe 1 (Yung Miami’s Cousin)
325. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
    forth fully herein.
326. Jane Doe 1 engaged in conduct toward Plaintiff that is extreme and outrageous to exceed
    the Baunds of decency in a civilized society, namely by, inter alia, subjecting him to sexual
    assault and misconduct.
327. The sexual assault and misconduct by Jane Doe 1 were extreme and outrageous conduct
    that shocks the conscience.
328. These actions were taken with the intent to cause or disregard for the substantial probability
    of causing severe emotional distress.
329. As a direct and proximate result of Jane Doe 1’s extreme and outrageous conduct, Plaintiff
    has suffered severe emotional distress.
 330. The Defendant's conduct was wanton, malicious, willful, and/or cruel, entitling the Plaintiff
    to punitive damages.
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                         THIRTEENTH CAUSE OF ACTION
                            IIED (FOR SEXUAL ASSAULT)
                                   (against Mr. Combs)
331. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
332. Mr. Combs engaged in conduct toward Plaintiff that is extreme and outrageous to exceed
   the Baunds of decency in a civilized society, namely by, inter alia, subjecting him to sexual
   assault and misconduct.
333. The sexual assault and misconduct by Mr. Combs were extreme and outrageous conduct
   that shocks the conscience.
334. These actions were taken with the intent to cause or disregard for the substantial probability
   of causing severe emotional distress.
335. As a direct and proximate result of Mr. Combs’ extreme and outrageous conduct, Plaintiff
   has suffered severe emotional distress.
336. The Defendant's conduct was wanton, malicious, willful, and/or cruel, entitling the Plaintiff
   to punitive damages.
                         FOURTEENTH CAUSE OF ACTION
KNOWING BENEFICIARY IN A SEX-TRAFFICKING VENTURE IN VIOLATION OF
  THE TRAFFICKING VICTIMS’ PROTECTION ACT, 18 U.S.C. §§ 1591(A)(2), 1595
 (against Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records,
                      Love Records, and Universal Music Group)
337. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
338. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group knowingly and intentionally benefitted, financially and
   by receiving things of value, from participating in, assisting, supporting, and facilitating an
   illegal coercive sex-trafficking venture that was in and affecting interstate and foreign
   commerce, together and with others, in violation of 18 U.S.C. § 1591(a)(2).
339. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group took many concrete steps to aid and participate in Mr.
   Combs’ sex-trafficking venture. Among the concrete steps that Defendants Lucian Charles
   Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music
   Group took to aid Mr. Combs was providing vast sums of cash, which made the sex-
   trafficking venture possible. Providing Mr. Combs with large sum of U.S. currency caused


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   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
   and Universal Music Group to receive financial benefits. Defendants Lucian Charles Grainge,
   Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group
   willingness to provide large amounts of cash to Mr. Combs was the quid pro quo for it
   receiving financial benefits from Mr. Combs.
340. The cash that Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group provided was necessary for Mr. Combs
   to coerce Plaintiff Jones to engage in commercial sex acts. The cash directly formed part of
   the commercial nature of the sex acts. The cash was also a necessary and required part of Mr.
   Combs’ recruitment of Plaintiff Jones, as well as other sex workers, prostitutes and underage
   minors. By providing cash that Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, and Universal Music Group knew would be used to fund
   the sex trafficking venture, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, and Universal Music Group actively participated in the
   recruitment of victims of the venture.
341. The cash that Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group provided went far beyond providing
   routine sponsorship, partnership, and employer compensation for a subordinate. It was far
   from routine for Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group to provide substantial sums of cash per
   year to Mr. Combs, who did not have an apparent legitimate need for such extravagant sums.
   The sheer number of “listening parties,” yacht parties, and nighttime writers camp after parties
   which Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group sponsored, went far beyond normal for the music
   industry. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group knew or should have known that they were feeding Mr.
   Combs sexual deviancy. Moreover, the circumstances in which Mr. Combs was requesting
   such large amounts were far from routine and should have raised numerous “red flags”—
   taking it well outside routine circumstances.
342. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group providing large sums of cash to Mr. Combs, under the



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   circumstances of this case, was entirely inconsistent with the ordinary duties of a record label,
   music group, publishing partner or as an employer employee.
343. The reason that Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group ignored the numerous red flags about
   Mr. Combs was to receive financial benefits from Mr. Combs and his sex-trafficking venture.
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
   and Universal Music Group knew that it would gain far-from-routine financial benefits by
   ignoring the red flags associated with Mr. Combs and by participating in his sex- trafficking
   venture.
      a. Among the concrete steps that Defendants Lucian Charles Grainge, Ethiopia
         Habtemariam, Motown Records, Love Records, and Universal Music Group took to
         aid and participate in the Combs sex-trafficking venture were opening up numerous
         lines of credit for Mr. Combs’s production of the Love Album, his related entities, and
         associates. By opening these lines of credit, and by consistently sponsoring his freak
         off parties, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
         Records, Love Records, and Universal Music Group received many benefits from
         participating in Mr. Combs’s venture. The sponsoring of these events was affirmative
         conduct that caused Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
         Motown Records, Love Records, and Universal Music Group to receive those
         benefits.
      b. Among the concrete steps that Defendants Lucian Charles Grainge, Ethiopia
         Habtemariam, Motown Records, Love Records, and Universal Music Group took to
         aid the Combs sex- trafficking venture, between about 2000 and continuing through
         about November 2023, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
         Motown Records, Love Records, and Universal Music Group concealed its delivery
         of vast sums of cash (likely millions of dollars) to Mr. Combs and his associates. In
         order to benefit from the Combs sex- trafficking venture, Defendants Lucian Charles
         Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal
         Music Group willfully failed to timely file required tax disclosures surrounding the
         funding of these sex trafficking parties with the federal government, because doing so
         would imperil its ability to profit from the sex-trafficking venture. Defendants Lucian
         Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
         Universal Music Group concealment of the cash transactions caused it to receive
         financial benefits through continuation of the Combs sex-trafficking venture.
      c. Among the concrete steps that Defendants Lucian Charles Grainge, Ethiopia
         Habtemariam, Motown Records, Love Records, and Universal Music Group took to
         aid the Combs sex- trafficking venture were its failure to follow AML requirements.
         This failure was not just passive facilitation, but a deliberate omission by Defendants
         Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
         Universal Music Group. This omission was specific act of concealment, which
         allowed Combs to continue funding his sex- trafficking venture through suspicious
         transactions that would have otherwise been prevented.


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 d. By taking the concrete steps outlined above (along with the others alleged in this
    complaint), Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
    Records, Love Records, and Universal Music Group knowingly participated in sex
    trafficking and furthered the Combs sex-trafficking venture. The concrete steps above
    constituted taking part in the sex-trafficking venture and were necessary for its
    success. The concrete steps above constituted active engagement by Defendants
    Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group in Combs’s sex- trafficking venture.
 e. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knowingly and intentionally benefited
    financially from, and received value for, its participation in the sex-trafficking venture,
    in which Mr. Combs, with Defendants Lucian Charles Grainge, Ethiopia
    Habtemariam, Motown Records, Love Records, and Universal Music Group’s
    knowledge, or their reckless disregard of the fact, that Combs would use means of
    force, threats of force, fraud, coercion, and a combination of such means to cause
    Plaintiff Jones, as well as others, some of whom were under the age of seventeen, to
    engage in commercial sex acts.
 f. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knew, through years of lawsuits, hush money
    settlements, and notice that was provided by Ms. Cassie Venture at the beginning of
    2023, that Mr. Combs was engaging in sex trafficking, and that Defendants Lucian
    Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group was participating in a particular sex-trafficking venture—i.e.,
    the coercive Combs sex-trafficking venture outlined above. Defendants Lucian
    Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group’s knowledge went far beyond having an abstract awareness
    of sex trafficking in general. Indeed, Defendants Lucian Charles Grainge, Ethiopia
    Habtemariam, were present at Chalice Recording Studios and in Mr. Combs Miami,
    LA, and NYC homes while he was actively engaging in freak off parties and sex
    trafficking and the large amounts of cash that Defendants Lucian Charles Grainge,
    Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group
    were giving him. Thus, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
    Motown Records, Love Records, and Universal Music Group did not simply fail to
    adequately detect signs of Combs’ sex trafficking; it did detect multiple signs of
    Combs’ coercive sex-trafficking venture and continued to participate in the venture.
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knew that the venture was on-going, which was
    why Combs required vast sums of cash.
 g. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group’s actions extend well beyond a situation of
    failing to train themselves and their staff about recognizing the warning signs of sex
    trafficking. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
    Records, Love Records, and Universal Music Group’s employees did recognize the
    signs of Combs’ sex trafficking. Indeed, Defendants Lucian Charles Grainge, Ethiopia
    Habtemariam, Motown Records, Love Records, and Universal Music Group’s
    employees knew about Combs’ sex-trafficking venture. But Defendants Lucian



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    Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group decided to continue facilitating the Combs sex-trafficking
    venture rather than ending its participation in the venture.
 h. Among the signs that Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
    Motown Records, Love Records, and Universal Music Group was facilitating Combs
    sex trafficking venture were those facts that came to the attention of Defendants
    Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group from the reporting of Mr. Cassie Ventura mentioned above.
 i. Among the signs that Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
    Motown Records, Love Records, and Universal Music Group was facilitating Combs’
    sex trafficking venture were those facts that came to the attention of Defendants
    Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group were those facts that came to its attention through complaints
    filed by Cassie Ventura of Combs’ sex trafficking. Because of those complaints,
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group — knew to a certainty that Combs was engaged
    in sex trafficking.
 j. Defendants Lucian Charles Grainge, Ethiopia Habtemariam’s are officers of
    Defendants Motown Records, Love Records, and Universal Music Group and knew
    the names of the many of Combs’ sex trafficking/ freak off participates (Yung Miami,
    Daphne Joy, Stevie J, and Jade).
 k. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group helped to conceal the names of Combs’ victims
    from the public and from law enforcement and prosecuting agencies by helping to
    conceal the existence of the sex-trafficking venture. Among the ways in which
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group helped to conceal the venture’s existence was
    by providing the cash necessary for the venture to avoid leaving a visible “paper trail.”
    Additionally, they employed and empowered Faheem Muhammad, and Defendant
    Khorram to pay off law enforcement, and to compensate the sex workers with cash.
 l. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group’s concealment included failing to provide
    enhanced monitoring that was required for someone like Combs. Defendants Lucian
    Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group failed to implement an enhanced monitoring of Mr. Combs
    sexual parties to ensure that underaged girls and sex workers were not present. They
    failed to do this specifically to help conceal Combs’ ongoing sex-trafficking.
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knew that if it implemented that enhanced
    monitoring, it would have to stop providing Combs with the cash needed to run his
    sex-trafficking venture.
 m. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group ’s concealment included failing to report Mr.
    Combs’ suspicious sex trafficking activities to law enforcement, and for failing to
    report their financial support and sponsorship of Mr. Combs sex trafficking parties to
    the federal government for tax purposes.



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 n. In addition to having actual knowledge that it was participating in Combs’ sex
    trafficking venture, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
    Motown Records, Love Records, and Universal Music Group had constructive
    knowledge that it was participating in Combs’ sex trafficking venture. Defendants
    Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group also had constructive knowledge that Plaintiff James, and
    other underaged minors were being coercively sex trafficked by Combs. Its
    constructive knowledge extended to the names of Combs’ victims, because Combs
    and his associates knew the names of the victims. Mr. Combs had hundreds of cameras
    in his homes in LA, NYC, and Miami. Mr. Combs required the sex workers, and
    underaged girls to sign NDAs prior entering his parties, and prior to being drugged
    and sex trafficked at these parties.
 o. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group had constructive knowledge of Combs’ sex-
    trafficking venture because of specific acts by Mr. Combs that put it on notice of a
    particular and ongoing sex trafficking venture. Among the specific acts were Combs’
    use of vast sums of cash, drugs, fake promises of career opportunities and access to
    music industry executives in circumstances that should have prompted Defendants
    Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group employees to specifically raise questions about Combs’s sex-
    trafficking.
 p. Also, among the specific acts giving rise to constructive knowledge were the facts that
    associates of Mr. Combs made numerous cash withdrawals from Defendants Lucian
    Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
    Universal Music Group accounts through Mr. Combs accountant Robin Greenhill. The
    circumstances of these withdrawals gave Defendants notice that Mr. Combs’ sex-
    trafficking enterprise was being funded.
 q. Among the financial benefits that the Defendants Lucian Charles Grainge, Ethiopia
    Habtemariam, Motown Records, Love Records, and Universal Music Group received
    for participating in and facilitating Combs’ sex-trafficking venture were the affiliation
    and access to Mr. Combs popularity. Mr. Combs was known for throwing the “best”
    parties. Affiliation with, and or sponsorship of Mr. Combs sex-trafficking parties
    garnered legitimacy and access to celebrities such as famous athletes, political figures,
    artist, musicians, and international dignitaries like British Royal, Prince Harry. Mr.
    Combs and Combs-controlled entities made to Defendants Lucian Charles Grainge,
    Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group.
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group profited from their affiliation with Mr. Combs
    and their sponsorship of his sex-trafficking parties. Mr. Combs and Combs-controlled
    entities used the sponsorship funds in exchange for Defendants Lucian Charles
    Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal
    Music Group’s facilitation and participation in the sex trafficking venture, including
    its willingness to provide large amounts of cash in suspicious circumstances and to
    allow their failure to report these sponsorships on their taxes to the US Federal
    Government to avoid triggering suspicions of the Federal Government.




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 r. Among the financial benefits that Defendants Lucian Charles Grainge, Ethiopia
    Habtemariam, Motown Records, Love Records, and Universal Music Group received
    for participating in Combs’ sex-trafficking venture was referral of business
    opportunities from Mr. Combs and his co-conspirators. Access to up-and-coming
    artist, producers, song writers and creatives. Defendants Lucian Charles Grainge,
    Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group
    profited from these referred business opportunities. Mr. Combs referred business
    entities and business opportunities to Defendants Lucian Charles Grainge, Ethiopia
    Habtemariam, Motown Records, Love Records, and Universal Music Group in
    exchange for its facilitation and participation in the sex trafficking venture. These
    referrals were a quid pro quo for Defendants Lucian Charles Grainge, Ethiopia
    Habtemariam, Motown Records, Love Records, and Universal Music Group’s
    participation in the sex-trafficking venture.
 s. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group financially profited from the deposits made by
    Combs and Combs-controlled entities and from the business opportunities referred to
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group by Combs in exchange for its facilitation and
    participation in Combs’ sex trafficking venture.
 t. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knowingly received financial benefits in return
    for its assistance, support, and facilitation of Combs’ sex-trafficking venture.
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knew that if it stopped assisting, supporting, and
    facilitating of Combs’ sex-trafficking venture, it would no longer receive those
    benefits.
 u. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knew, and was in reckless disregard of the fact,
    that it was Combs’s pattern and practice to use the channels and instrumentalities of
    interstate and foreign commerce (private jets, yachts, and commercial airplanes) to
    entice, recruit, solicit, harbor, provide, obtain, and transport young women, young
    men, and underage girls for purposes of causing commercial sex acts, in violation of
    18 U.S.C. § 1591(a)(1).
 v. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group and its employees had actual knowledge that
    they were facilitating Combs’ sexual abuse and sex trafficking conspiracy to recruit,
    solicit, entice, coerce, harbor, transport, obtain and provide Mr. Jones into commercial
    sex acts, through the means of force, threats of force, fraud, abuse of process, and
    coercion, and a combination of all these means.
 w. Despite such knowledge, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
    Motown Records, Love Records, and Universal Music Group intentionally paid for,
    facilitated, and participated in Combs’ violations of 18 U.S.C. § 1591(a)(1), which
    Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
    Records, and Universal Music Group knew, and were in reckless disregard of the fact
    that, Combs would coerce, defraud, and force Mr. Jones to engage in commercial sex
    acts.



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 x. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
     Records, and Universal Music Group, through its employees and agents, actively
     participated in the sex trafficking conspiracy and led Mr. Jones, sex workers, and
     underage girls to believe that they would be rewarded if they cooperated and
     acquiesced to Mr. Combs’ coercive demands.
 y. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
     Records, and Universal Music Group’s affirmative conduct was committed
     knowingly, and in reckless disregard of the facts, that Mr. Combs would use cash and
     financial support provided by Defendants Lucian Charles Grainge, Ethiopia
     Habtemariam, Motown Records, Love Records, and Universal Music Group as a
     means of defrauding, forcing, and coercing sex acts from Mr. Jones. Defendants
     Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and
     Universal Music Group’s conduct was outrageous and intentional.
 z. In addition to actual knowledge that it was participating in and facilitating the Combs
     sex-trafficking venture, Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
     Motown Records, Love Records, and Universal Music Group also should have known
     that it was participating in and facilitating a venture that had engaged in coercive sex
     trafficking, as covered by 18 U.S.C. § 1595(a).
 aa. In exchange for facilitating and covering up Combs’ commercial sex trafficking, the
     Defendants Lucian Charles Grainge, Ethiopia Habtemariam advanced in their careers
     at Defendants Motown Records, Love Records, and Universal Music Group and
     received financial benefits therefrom by securing the Defendants Motown Records,
     Love Records, and Universal Music Group – Sean Combs relationship.
 bb. Facilitating and covering up Combs’ sexual trafficking and misconduct was a means
     of obtaining economic success and promotion within the Defendants Lucian Charles
     Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal
     Music Group hierarchy.
 cc. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
     Records, and Universal Music Group’s knowing, and intentional conduct has caused
     Mr. Jones serious harm including, without limitation, physical, psychological,
     emotional, financial, and reputational harm.
 dd. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
     Records, and Universal Music Group’s knowing, and intentional conduct has caused
     Mr. Jones harm that is sufficiently serious, under all the surrounding circumstances,
     to compel a reasonable person of the same background and in the same circumstances
     to perform or to continue performing commercial sexual activity, to avoid incurring
     that harm.
 ee. This case does not involve mere fraud. Instead, Defendants Lucian Charles Grainge,
     Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music
     Group’s criminal conduct in violating the TVPA was outrageous and intentional
     because it was in deliberate furtherance of a widespread and dangerous criminal sex
     trafficking organization. Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
     Motown Records, Love Records, and Universal Music Group ’s criminal conduct also
     evinced a high degree of moral turpitude and demonstrated such wanton dishonesty as
     to imply a criminal indifference to civil obligations. Defendants Lucian Charles
     Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal



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          Music Group’s criminal conduct was directed specifically at Mr. Jones who was the
          victim of Combs’ sexual abuse and sex trafficking organization.
      ff. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
          Records, and Universal Music Group’s outrageous and intentional conduct in this case
          is part of a pattern and practice of Defendants Lucian Charles Grainge, Ethiopia
          Habtemariam, Motown Records, Love Records, and Universal Music Group profiting
          by undertaking illegal “high risk, high reward” partnerships and sponsorships.
344. By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(2), 1595,
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
   and Universal Music Group is liable to Mr. Jones for the damages he sustained and reasonable
   attorneys’ fees.


                          FIFTEENTH CAUSE OF ACTION
    OBSTRUCTION OF THE ENFORCEMENT OF THE TRAFFICKING VICTIM
                       PROTECTION ACT, 18 U.S.C. § 1591(d)
 (against, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records,
                       Love Records, and Universal Music Group)
345. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
346. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group and its officers and employees knowingly and
   intentionally obstructed, attempted to obstruct, interfered with, and prevented the enforcement
   of 18 U.S.C. §§ 1591(a)(1) & (a)(2), all in violation of 18 U.S.C. § 1591(d). This activity is
   hereinafter referred to collectively simply as “obstruction.”
347. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group’s obstruction of the enforcement of 18 U.S.C. §§
   1591(a)(1) and (a)(2) was forbidden by 18 U.S.C. § 1591(d), and Defendants Lucian Charles
   Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music
   Group thereby violated Chapter 77, Title 18. Defendants Lucian Charles Grainge, Ethiopia
   Habtemariam, Motown Records, Love Records, and Universal Music Group’s obstruction
   described here and in the preceding paragraph directly, proximately, and foreseeably harmed
   Mr. Jones by directly resulting in him coercively being caused to engage in commercial sex
   acts and in other ways.
348. Defendant Sean Combs has a well-documented history of criminal investigations.
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,



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   and Universal Music Group were on notice of Mr. Combs proclivity to criminal activity. They
   knew or should have known that Mr. Combs sex-trafficking operation would or could result
   in a criminal investigation by State and Federal prosecutors for violating (among other laws)
   the TVPA. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records,
   Love Records, and Universal Music Group should have taken a que from the Federal
   Prosecutors arrest and prosecution of Jeffrey Epstein on or about July 8, 2019. On or about
   that date, the U.S. Attorney’s Office for the Southern District of New York indicted Epstein
   (and unnamed “associates”) for violating the TVPA. Later, on about June 29, 2020, the same
   Office indicted Epstein’s co-conspirator, Ghislaine Maxwell, for conspiracy to entice minor
   victims to travel to be abused by Epstein. Mr. Combs, Defendants J. Combs, Khorram and
   her direct reports: Brendan Paul, Frankie Santella, and Moy Baun all engaged in the same
   activities as Mr. Epstein and Ms. Maxwell. In fact, Mr. Combs, Defendants J. Combs,
   Khorram and her direct reports: Brendan Paul, Frankie Santella, and Moy Baun may have
   done worse.
349. By providing financing for Mr. Combs’ sex trafficking organization, and concealing its
   actions thereafter, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group obstructed, interfered with, and
   prevented the state and federal government enforcement of the TVPA against Mr. Combs,
   Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie Santella, and
   Moy Baun. To the extent that the federal government was able to ultimately charge Mr.
   Combs, Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie
   Santella, and Moy Baun with TVPA violations, the filing of those charges was delayed by
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
   and Universal Music Group’s actions. Because of that delay, Mr. Jones was coercively caused
   to engage in commercial sex acts.
350. As one example of how Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, and Universal Music Group obstructed, attempted to
   obstruct, interfered with, and prevented state and federal government’s enforcement of the
   TVPA, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group provided large amounts of cash to Mr. Combs and his
   associates so that the coercive commercial sex acts would escape the detection of state and



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   federal law enforcement and prosecuting agencies. Defendants Lucian Charles Grainge,
   Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group
   provided large amounts of cash to further the Mr. Combs, Defendants J. Combs, Khorram and
   her direct reports: Brendan Paul, Frankie Santella, and Moy Baun sex-trafficking venture and
   with the purpose of helping Mr. Combs, Defendants J. Combs, Khorram and her direct reports:
   Brendan Paul, Frankie Santella, and Moy Baun evade criminal liability for violating the
   TVPA.
351. As an example of how Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, and Universal Music Group obstructed, attempted to
   obstruct, interfered with, and prevented state and federal government’s enforcement of the
   TVPA, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group failed to timely file with the state and federal
   government the required tax forms that detailed the sponsorship and partnership payments
   provided by defendants to Mr. Combs. Timely filing of these reports is required by the United
   States Tax code and related laws and regulations. These reports are tools that the state and
   federal government uses to detect and prosecute, among other illegal activities, sex trafficking
   in violation of the TVPA. By failing to timely file, the required tax reporting documents
   regarding Mr. Combs’ sponsorship cash transactions, Defendants Lucian Charles Grainge,
   Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group
   obstructed, attempted to obstruct, interfered with, and prevented the government’s
   enforcement of the TVPA by concealing from the government’s attention Mr. Combs’ cash
   transaction in aid of sex trafficking.
352. By providing large amounts of cash to Mr. Combs and his associates, Defendants Lucian
   Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal
   Music Group intended and knew that Mr. Combs’ coercive commercial sex acts would escape
   the detection of law enforcement and prosecuting agencies for some period of time.
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
   and Universal Music Group provided large amounts of cash to further the Combs sex-
   trafficking venture and with the purpose of helping Mr. Combs evade criminal liability for
   violating the TVPA.




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353.   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group’s obstruction, attempted obstruction, interference with,
   and prevention of the enforcement of the TVPA were all done intentionally and knowingly.
   For example, Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records,
   Love Records, and Universal Music Group knew that Mr. Combs was high risk—specifically,
   high risk to violate the TVPA through continuing criminal sex trafficking activities. As
   evidenced by Cassie Ventura’s civil complaint, she informed members of Mr. Combs parent
   label about the abuses he was visiting upon her, and instead of coming to her rescue, they
   forced her to return his calls and to return to his sex trafficking enterprise.
354. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group was aware Mr. Combs had a laundry list of criminal
   charges, and barely escaped serving prison time. Upon information and belief Mr. Combs
   engaged in witness intimidation, and bribery to escape criminal liability for shooting Natania
   Reuben in the face. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group was aware that there were public
   allegations that Mr. Combs illegal conduct was facilitated by several named co- conspirators.
   They were made aware of this through complaints made my Cassie Ventura, and the lawsuit
   by former Diddy sex worker Jonathan Oddi. Defendants Lucian Charles Grainge, Ethiopia
   Habtemariam, Motown Records, Love Records, and Universal Music Group concealed from
   state and federal government its numerous cash payments to those co-conspirators.
   Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records,
   and Universal Music Group continued its affirmative conduct of providing cash to Mr. Combs,
   and his associates so that he could make those cash payments to his co- conspirators with
   knowledge that such cash transaction did not produce a clear paper trail. Defendants Lucian
   Charles Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal
   Music Group’s intentional conduct obstructed, attempted to obstruct, in many ways interfered
   with, and prevented the enforcement of the TVPA by investigators and prosecuting agencies.
355. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group’s relationship with Mr. Combs in providing to his sex-
   trafficking venture with vast sums of cash each year went far beyond a normal (and lawful)
   sponsorship, partnership, and employer employee relationships. Defendants Lucian Charles



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   Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music
   Group knew, and intended, that its relationship with Mr. Combs would go far beyond a normal
   music industry relationship. Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, and Universal Music Group knew that its decision to go
   beyond a normal music relationship with Mr. Combs obstructed the ability of law enforcement
   and prosecuting agencies to enforce the TVPA.
356. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group’s obstruction of the government’s TVPA and other law
   enforcement efforts was intentional and willful and, therefore, Defendants Lucian Charles
   Grainge, Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music
   Group intentionally and willfully caused Mr. Combs’ commission of the forcible commercial
   sex acts with Mr. Jones through its obstruction supporting the concealment of Mr. Combs’
   sex-trafficking venture. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group knew that Mr. Combs and his other co-
   conspirators would use means of force, threats of force fraud, coercion, and a combination of
   such means to cause Mr. Jones to engage in commercial sex acts.
357. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group knew, acted in reckless disregard of the fact, and should
   have known, that its obstruction in violation of 18 U.S.C. § 1591(d) would directly and
   proximately lead to unlawful coercive commercial sex acts by Mr. Combs with men, like
   Plaintiff Jones, young men, women and young girls.
358. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group’s obstruction has caused Mr. Jones serious harm,
   including, without limitation, physical, psychological, financial, and reputational harm. That
   harm was directly and proximately caused by the obstruction and the harm resulting from
   obstruction was foreseeable.
359. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown Records, Love
   Records, and Universal Music Group’s obstruction has caused Mr. Jones harm that is
   sufficiently serious, under all the surrounding circumstances, to compel a reasonable person
   of the same background and in the same circumstances to perform or to continue performing
   commercial sexual activity to avoid incurring that harm.



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360. This case does not involve mere fraud. Instead, Defendants Lucian Charles Grainge,
   Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group’s
   criminal conduct in obstructing enforcement of the TVPA was outrageous and intentional
   because it was in deliberate furtherance of a widespread and dangerous criminal sex
   trafficking organization. Defendants Lucian Charles Grainge, Ethiopia Habtemariam,
   Motown Records, Love Records, and Universal Music Group’s obstruction also evinced a
   high degree of moral turpitude and demonstrated such wanton dishonesty as to imply a
   criminal indifference to civil obligations. Defendants Lucian Charles Grainge, Ethiopia
   Habtemariam, Motown Records, Love Records, and Universal Music Group’s obstruction
   was directed specifically at Mr. Jones who was the victim of Mr. Combs’ sex trafficking
   organization.
361. By virtue of these violations of 18 U.S.C. § 1591(d), Defendants Lucian Charles Grainge,
   Ethiopia Habtemariam, Motown Records, Love Records, and Universal Music Group is liable
   to Mr. Jones for the damages he sustained and reasonable attorneys’ fees by operation of 18
   U.S.C. § 1595. Defendants Lucian Charles Grainge, Ethiopia Habtemariam, Motown
   Records, Love Records, and Universal Music Group perpetrated an obstruction of the TVPA,
   and therefore perpetrated a violation of Chapter 77, Title 18.

                                   COUNT SIXTEEN
                                 Breach of Oral Contract
                       (against, Love Records, and Sean Combs)
362. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
363. Plaintiff Jones and Defendants Mr. Combs and LR had an oral contract for Mr. Jones to
   receive $20,000 for every song he produced on the Love Album. Mr. Combs agreed to allow
   Mr. Jones to keep his publishing, as well as 4 royalty points per song, and to credit him as a
   producer for every song that he touched, as well as credit him for each instrument he played.
364. Mr. Jones fully executed his obligations under the contract when he produced: Deliver Me,
   Stay PT 1, Reachin’, What’s Love, Stay Awhile, Moments, Need Somebody, Homecoming, and
   Tough Love.
365. Mr. Jones worked on the following songs: Brought My Love, and Creepin Remix.
366. Mr. Jones lived and traveled with Mr. Combs from September 2022 to October 2023.
   Through the duration of that time Mr. Combs did not compensate Mr. Jones for his time or




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    the work he did on the above-mentioned songs. Mr. Combs also failed to provide Mr. Jones
    with producer credit, or 4 royalty points for all songs.
367. As a result of Mr. Combs’ actions, Mr. Jones has suffered the following losses: $180,000,
    4 royalty points, and producer credit for the following songs: Deliver Me, Stay PT 1, Reachin’,
    What’s Love, Stay Awhile, Moments, Need Somebody, Homecoming, and Tough Love.
368. As a result of Mr. Combs’ actions, Mr. Jones has suffered the following losses: $40,000, 4
    royalty points, and producer credit for the following songs: Brought My Love, and Creepin
    Remix.
369. As a result of Mr. Combs’ breach of contract, Mr. Jones has suffered and continues to
    suffer harm, including severe emotional distress, anxiety, and other consequential damages
    for which he is entitled to an award of monetary damages and other relief.
370. The conduct of Mr. Combs described above was willful, wanton, and malicious. At all
    relevant times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings,
    acted with the knowledge of or with reckless disregard for the fact that his conduct was certain
    to cause injury to Plaintiff Jones. By virtue of the foregoing, Plaintiff is entitled to recover
    punitive damages.

                                     PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against Defendants,
containing the following relief:
           a. A declaratory judgment that the actions, conduct, and practices of Defendants
               complained of herein violate the laws of the State of New York;
           b. An award of damages against Defendant, in an amount to be determined at Trial,
               plus prejudgment interest, to compensate Plaintiff for all monetary and/or economic
               damages, including, but not limited to, loss of past and future income, wages,
               compensation, seniority, and other benefits of employment;
           c. An award of damages against Defendant, in an amount to be determined at Trial,
               plus prejudgment interest, to compensate Plaintiff for all non-monetary and/or
               compensatory damages, including, but not limited to, compensation for her mental
               anguish, humiliation, embarrassment, stress and anxiety, emotional pain and
               suffering, and emotional distress;
           d. An award of punitive damages, in an amount to be determined at Trial;
           e. Prejudgment interest on all amounts due;
           f. An award of costs that Plaintiff has incurred in this action, including, but not limited
               to, expert witness fees, as well as Plaintiff’s reasonable attorneys’ fees and costs to
               the fullest extent permitted by law; and,
           g. Such other and further relief as the Court may deem just and proper.




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                                        JURY DEMAND
Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: March 2, 2024
Brooklyn, New York
                                                               T. A. BLACKBURN LAW, PLLC.
                                                               By:
                                                               Tyrone A. Blackburn, Esq.

                                   PRESERVATION NOTICE
The term "you," "your," or "yours" as used herein shall refer to you (the recipient of this letter), as
well as to the respondents and any individuals responsible for the custody and control of the below
information, including, but not limited to, those individuals' administrative assistants, secretaries,
agents, employees, information technology personnel and third-party vendors. From this point
forward, you are directed to prevent "spoliation," defined as altering, changing, updating,
destroying (even if periodically), editing, or deleting any information set forth hereafter.
If you cause any such alteration, destruction, or change, direct it, or allow it to occur, you may be
charged with discovery rule violations for which sanctions may be imposed. Further, your failure
to abide by this request could result in severe penalties against you and form the basis of legal
claims for spoliation.

Electronically Stored Information:
In terms of electronically stored information, you are directed to prevent any destructive,
alternative or other change to any web pages, virtual profiles or identical (including, but not limited
to, Facebook, Instagram, Pinterest, Twitter, Tumblr, LinkedIn, Snapchat, Google Plus+, Flickr,
Vine, About.me, ask.fm etc., or any other social media-based web profile or networking site
account), emails, voice messages, text messages, instant messages or messaging systems,
recordings, digital recordings, media images and videos, temporary memory, memory sticks,
portable memory devices, laptops or computers, CDs, DVDs, USB devices, databases, computer
activity logs, internet browsing history (including cookies), network access and server activity
logs, word processing files and file fragments, backup and archival files, imaging and facsimile
files, electronic calendar and scheduling program files and file fragments as well as any other
contact and relationship management data (e.g., Outlook), electronic spreadsheet files and file
fragments, pertaining in any way to this controversy of the parties or any potential witnesses. This
includes a request that such information not be modified, altered, or deleted due to data
compression or disk fragmentation (or other optimization procedures), which processes you are
hereby directed to suspend until that data can be preserved, copied, and produced.

You are directed not to modify, alter, or delete or allow modifications, alterations, or deletions to
be made to any electronically stored information. You are further directed to preserve all, and not
to destroy any, passwords, decryption productions (including, if necessary, the software to decrypt
the files), network access codes, manuals, tutorials, written instructions, decompression or
reconstruction software, and any other information and things necessary to access, view and (if
necessary) reconstruct the electronic data we will request through discovery.




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Paper Information:
Regarding the paper information, you are directed to preserve any emails, videos, texts, memos,
reports, documents, notes, correspondence, photographs, investigative information, or other
documents about the controversy, parties, or witnesses. We expect to obtain several documents
and other data from you through discovery, including text messages, emails, photographs, and
other information stored on computers, electronic devices, and telephones.

Although we may bring a motion with a court for order-preserving documents and other data from
destruction or alteration, your obligation to preserve documents and other data for discovery, in
this case, arises independently from any order on such motion. Electronic documents and the
storage media, including but not limited to telephones on which they reside, contain relevant,
discoverable information beyond what may be found in printed documents. Therefore, even where
a paper copy exists, we will likely seek all documents in their original, electronic form, along with
metadata or information about those documents on the media. We will seek paper printouts of
only those documents that contain unique information created after they were printed (e.g., paper
documents containing handwriting, signatures, marginalia, drawings, annotations, highlighting,
and redactions) and any paper documents for which no corresponding electronic files exist.

The laws and rules prohibiting the destruction of evidence apply to electronically stored
information in the same manner they apply to other evidence. Due to its format, electronic
information is quickly deleted, modified, or corrupted. Accordingly, the demand is made that you
take every reasonable step to preserve this information until the final resolution of this matter.
This may include, but would not be limited to, an obligation to discontinue all data destruction and
backup tape recycling policies.

Concerning electronic data created after this Complaint's delivery date, relevant evidence should
not be destroyed. You must take the steps necessary to avoid the destruction of such evidence.

Dated: March 2, 2024
Brooklyn, New York
                                                              T. A. BLACKBURN LAW, PLLC.
                                                              By:
                                                              Tyrone A. Blackburn, Esq.


                        DEMAND FOR INSURANCE COVERAGE
Defendants are demanded to provide a complete copy of their applicable insurance policies and
declaration sheets demonstrating coverage within thirty (30) days of service of this Complaint.

Dated: March 2, 2024
Brooklyn, New York
                                                              T. A. BLACKBURN LAW, PLLC.
                                                              By:
                                                              Tyrone A. Blackburn, Esq.




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